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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA, et al., ex
 rel. MATTHEW A. FITZER, M.D.,        *

                                                     *
        Plaintiff-Relator,                                   Civil Action No.: 1:17-cv-00668-SAG
                                                     *
 v.                                                          Fourth Amended Complaint
                                                     *       Jury Trial Demanded
 ALLERGAN, INC., et al.,
                                                     *
        Defendants.                                  *
                             *   *   *   *   *   *       *   *   *   *   *

                             FOURTH AMENDED COMPLAINT

       1.      COMES NOW Plaintiff-Relator Matthew A. Fitzer, MD (“Plaintiff-Relator” or

“Dr. Fitzer”), on behalf of the United States of America, pursuant to the qui tam provisions of the

False Claims Act (FCA), 31 U.S.C. § 3729, et seq. as amended, and the state governments of

California, Colorado, Connecticut, Delaware, the District of Columbia, Florida, Georgia, Hawaii,

Illinois, Indiana, Iowa, Louisiana, Massachusetts, Michigan, Minnesota, Montana, Nevada, New

Jersey, New Mexico, New York, North Carolina, Oklahoma, Rhode Island, Tennessee, Texas,

Virginia, Washington, and Wisconsin pursuant to the qui tam statutes of their respective states

against Defendants Allergan, Inc. (“Allergan”) and Apollo Endosurgery, Inc. (“Apollo”)

(collectively, “Defendants”), by and through his undersigned attorneys, Nichols Kaster, PLLP and

Price Benowitz, LLP, alleging as follows:

                                 PRELIMINARY STATEMENT

       2.      This case is about an illegal kickback scheme employed by Defendants in

marketing the LAP-BAND® medical device. Defendants provided bariatric surgeons with

valuable advertising services at no cost and used a volume-based quota to induce referrals of its



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product. Indeed, for years Defendants illegally incentivized surgeons to recommend and order

procedures for the LAP-BAND® device by either providing or withholding valuable marketing

services through their www.lapband.com website based on a usage quota of their device. Surgeons

then filed claims for reimbursement of LAP-BAND® procedures with government programs such

as Medicare and Medicaid. Defendants’ scheme corrupted surgeon’s medical judgment, breaching

the promise providers make to state and federal governments in their submissions of claims in

violation of the False Claims Act.

       3.      The LAP-BAND® is a gastric-band medical device owned by Allergan, and later,

Apollo, that enjoyed brief popularity as a treatment for morbid obesity.

       4.      Aggressive marketing propelled the success of the LAP-BAND®, making it the

most performed weight-loss operation in the United States by 2008.

       5.      The LAP-BAND® monopolized the gastric-band market, competing with only one

other gastric-band device starting in 2007, the Realize® band, manufactured and sold by Ethicon

Endo-Surgery. The two different bands each had their own separate training and certification

programs that the FDA required to be completed before surgeons could perform procedures using

the specific band.

       6.      Allergan’s advertising program was well-funded, nationwide, and included

television, billboards, print, and online search. Most of their ads had the visible objective of

funneling traffic to its renowned www.lapband.com website and directly to a popup physician

locator, which drove potential patients to surgeons in their area willing to implement the device.

       7.      Defendants invested heavily in optimizing this website and promoted it in its

commercials and other marketing materials for the purpose of driving traffic to the site, and




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ultimately to a surgeon, with much success. But despite these investments, Defendants did not

charge surgeons for inclusion on www.lapband.com and related benefits.

       8.      Surgeons simply requested to be included, provided their profile information and

then watched the business roll in.

       9.      In Dr. Fitzer’s experience during the relevant time period, it was common

knowledge among bariatric surgeons that the www.lapband.com locator was a valuable practice-

building resource. And Allergan made sure that surgeons on the locator were aware of the value

of their free marketing by sending them email alerts showing leads generated from the locator

through seminar sign-ups and providing a lead tracker spreadsheet for surgeons to use on their

own.

       10.     This website helped the LAP-BAND® become a household name and, briefly, the

most-often performed weight-loss procedure in the United States.

       11.     The distinction was short-lived, however, because a deluge of adverse long-term

outcomes reports became public. Long-term outcomes, it turned out, were the critical flaw of

gastric bands, and mounting clinical evidence demonstrated that fact ever more vividly. Surgeons

and patients began to complain about leaks and defects, which required re-operation and even

explantation (removal). By 2012, a clear consensus had solidified within the professional

community that the LAP-BAND® was, if not obsolete, an inferior option compared to other

weight-loss procedures.

       12.     Unsurprisingly, the business outlook for the product turned grim. By 2012, LAP-

BAND® sales revenue was in its fourth year of decline, down an astonishing 50% from the 2008

high-water mark, and it showed no sign of bottoming.




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       13.     Allergan responded by announcing it intended to sell the LAP-BAND® product

line. The first quarter of 2013 came and went without a sale, and LAP-BAND® market share

continued its precipitous drop.

       14.     It was at this extraordinary moment—by all appearances the darkest hour for the

LAP-BAND®—that Allergan looked desperately for revenue opportunities to shore up the failing

LAP-BAND® business.

       15.     Allergan would henceforth demand a specific level of product loyalty from

physicians in exchange for giving them free advertising services through the www.lapband.com

surgeon locator. The rent, it seemed, was due.

       16.     Allergan enacted a policy of restricting participation in their marketing service, to

only those providers who completed at least 40 LAP-BAND® specific procedures per year. This

was, and remained for years, a quota-based illegal inducement.

       17.     Allergan purged the physician locator of surgeons with low LAP-BAND® usage,

which by 2013 was most of America’s weight loss surgeons. The website did not include Dr.

Fitzer, as well as the entire surgical staffs of some of the country’s preeminent bariatric surgery

programs. Altogether, Allergan quietly purged more than 1,000 surgeons—which represented a

substantial percentage of the overall locator. Publicly, Allergan acted as though nothing had

happened, never posting reasons for inclusion on or exclusion from the website physician locator.

       18.     The surgeons that remained were those with the highest LAP-BAND® usage.

       19.     In enacting a quota, Allergan sought to increase sales in two ways: (1) by further

incentivizing surgeons to perform more LAP-BAND® procedures and so to preserve or restore

their position on the locator--even if doing so required overriding what was in the best interest of

the patient, and (2) by ensuring that the surgeons getting referrals were the ones loyal to the LAP-




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BAND®. This way, the potential patients Allergan sought to funnel to www.lapband.com would

be connected to surgeons who were all but certain to perform a procedure using a LAP-BAND®.

       20.     Dr. Fitzer learned of the secret quota system that was withheld from potential

patients from his Allergan account manager, and its existence was confirmed to him by an Allergan

Vice President of Sales. If forty of his patients accepted a tainted recommendation to undergo

LAP-BAND® surgery, he was in. Less, and he was out.

       21.     Surgeons were faced with a choice. They either had to give up a valuable business

resource or allow a medical device company to taint their independent judgment in circumstances

where the LAP-BAND® may not be the most medically appropriate choice all to satisfy the quota.

       22.     This pressure is not only problematic for the doctor-patient relationship; it is also

problematic for the federal and state governments. Most bariatric surgeons (like Dr. Fitzer) have

some percentage of patients on federal healthcare programs such as Medicare or Medicaid. When

the government agrees to reimburse medical claims through these programs, it bargains for more

than just a particular product or medical service. These claims must also be medically necessary,

and the government relies on providers’ professional judgment to inform this analysis. When that

judgment is tainted, the government does not get the benefit of its bargain.

       23.     The inducement offered here was substantial. Allergan’s marketing savvy

generated enormous patient interest for their chosen doctors, some of whom saw their Medicare

billings for LAP-BAND® surgery more than double under the quota system. Dr. Fitzer knew a

LAP-BAND® surgeon, Dr. Robert Pinnar, who attributed his entire bariatric practice to

www.lapband.com referrals. Defendants’ policy strongly incentivized surgeons to generate more

LAP-BAND® sales. There was no other way to get so much free marketing support.

       24.     Dr. Fitzer was outraged when he learned of Allergan’s scheme, and he protested.




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       25.     He debated the legality of the quota with an Allergan Vice President. Dr. Fitzer

attempted to explain to Allergan officials every way he could—verbally and in writing—how the

scheme was a naked violation of the Anti-Kickback Statute. Allergan rebuffed several requests to

acknowledge their conduct in writing, and they proceeded with the scheme—full steam ahead. Dr.

Fitzer was left behind.

       26.     Allergan did finally manage to sell the LAP-BAND® product line.

       27.     In December 2013, some 100 Allergan sales personnel, including the

aforementioned Vice President, transferred, or were loaned, to Apollo with its purchase of the

LAP-BAND® product line.

       28.     Apollo maintained Allergan’s scheme, providing valuable internet advertising

through the physician locator at no cost to surgeons and managed the scheme with a quota based

on usage.

       29.     After years of implementing the quota without public acknowledgment, Apollo

began disclosing its terms on the website in a half-hearted attempt to feign compliance with Safe

Harbor standards.

       30.     When it suited Apollo’s bottom line, it ignored its own terms.

       31.     Neither Defendant ever reinstated Dr. Fitzer on the LAP-BAND® physician

locator.

       32.     The valuable marketing services the Defendants provided certain surgeons for free

in exchange for their high-level usage of the LAP-BAND® amounted to a rewards program. It

qualifies as an unlawful kickback.




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       33.     In running their scheme, Defendants caused federal and state health insurance

programs, including but not limited to, Medicare and Medicaid, to pay false or fraudulent claims

for reimbursement associated with Defendants’ LAP-BAND® product.

       34.     Defendants in essence purchased surgeons’ medical judgment.

       35.     A violation of the federal Anti-Kickback Statute creates direct liability under the

federal False Claims Act.

       36.     Defendants knew and/or reasonably foresaw, that their illegal financial

inducements would cause the submission of thousands of claims to government healthcare

programs associated with the LAP-BAND® medical device that were not eligible for

reimbursement.

       37.     Accordingly, Plaintiff-Relator files this action to recover penalties and damages on

behalf of himself and the above-listed governments.

                                 JURISDICTION AND VENUE

       38.       This action arises under the Federal False Claims Act, 31 U.S.C. § 3729, et seq.

       39.     This Court maintains subject matter jurisdiction over this action pursuant to 31

U.S.C. § 3732(a) and 28 U.S.C. § 1331, and supplemental and pendant jurisdiction.

       40.     Dr. Fitzer also brings this action on behalf of the governments of California,

Colorado, Connecticut, Delaware, the District of Columbia, Florida, Georgia, Hawaii, Illinois,

Indiana, Iowa, Louisiana, Massachusetts, Michigan, Minnesota, Montana, Nevada, New Jersey,

New Mexico, New York, North Carolina, Oklahoma, Rhode Island, Tennessee, Texas, Virginia,

Washington, and Wisconsin, hereinafter referred to collectively as “the States.”

       41.     Dr. Fitzer brings this action on behalf of the States for the Defendant’s violations

of Cal. Gov’t Code § 12650, et seq.; Colo. Rev. Stat. § 25.5-4-303.5, et seq.; Conn. Gen. Stat. § 4-




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274, et seq.; Del. Code Ann. Tit.6. § 1201, et seq.; D.C. Code § 2-381.01, et seq.; Fla. Stat. Ann.

§ 68.081, et seq.; Ga. Code. Ann. § 49-4-168, et seq.; Haw. Rev. Stat. Ann. § 661-21, et seq.; 740

Ill. Comp. Stat. Ann. 175/1, et seq.; Ind. Code § 5-11-5.5, et seq.; Iowa Code §685.1, et seq.; La.

Rev. Stat. Ann. § 46.437.1, et seq.; Mass. Ann. Laws ch.12, § 5, et seq.; Mich. Comp. Laws. Serv.

§ 400.601, et seq.; Minn. Stat. § 15C.01, et seq.; Mont. Code Ann. § 17-8-401, et seq.; Nev. Rev.

Stat. Ann. § 357.010, et seq.; N.J. Stat. Ann. § 2A: 32C-1, et seq.; N.M. Stat. Ann. § 27-14-1, et

seq.; N.M. Stat. Ann. § 44-9-1, et seq.; N.Y. State Fin. Law § 187, et seq.; N.C. Gen. Stat. § 1-605,

et seq.; Okla. Stat. tit. 63, § 5053, et seq.; R.I. Gen. Laws § 9-1.1-1, et seq.; Tenn. Code Ann. § 4-

18-101, et seq.; Tenn. Code Ann. § 71-5-181, et seq.; Tex. Hum. Res. Code Ann. § 36.001, et seq.;

Va. Code Ann. § 8.01-216.1, et seq.; Wash. Rev. Code § 74.66.005, et seq.; Wis. Stat. § 20.931.

These laws hereinafter collectively referred to as the “False Claims Acts of the States” or “State

False Claims Acts”.

       42.     Jurisdiction over State False Claims Acts claims is also conferred by 31 U.S.C. §

3732(b) in that the transactions and or occurrences described which violate the State False Claims

Acts involve a common nucleus of facts as, and are related to, those that violate the Federal False

Claims Act.

       43.     Venue is proper in this Court pursuant to 31 U.S.C. § 3732(a) because the

Defendants regularly transact business in this district and did so at all times relevant to this

Complaint; the False Claims Act confers national jurisdiction.

       44.     Plaintiff-Relator initially filed this action under seal on November 26, 2013 in the

United States District Court for the District of Columbia.

       45.     On or about February 22, 2017, this matter was transferred to the District of

Maryland on a motion by the United States.




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                                             PARTIES

I)     PLAINTIFF-RELATOR MATTHEW A. FITZER, M.D

       46.     Plaintiff-Relator Matthew A. Fitzer, M.D. is a citizen of the United States and

resides in Ashburn, Virginia.

       47.     Dr. Fitzer is the Director of the Virginia Bariatric Surgery Center of Herndon,

Virginia, and he is a full-time bariatric (weight-loss) surgeon.

       48.     Dr. Fitzer was an American Society for Metabolic and Bariatric Surgery

(“ASMBS”) Center of Excellence Surgeon.

       49.     Dr. Fitzer is the metabolic and bariatric surgery director of Reston Hospital Center’s

MBSAQIP-accredited bariatric surgery quality improvement program.

       50.     Dr. Fitzer is qualified to perform bariatric surgery, specifically including the three

operations that were considered the mainstream options: the Gastric Bypass, the Sleeve

Gastrectomy, and the implantation of the adjustable gastric band (“AGB”) more popularly known

and promoted by the Defendants by its brand name, the LAP-BAND®. He also obtained a separate

certification to implant the Ethicon Realize® band.

       51.     Dr. Fitzer obtained a B.S. in physics from Christopher Newport University, and an

M.D. from Eastern Virginia Medical School.

       52.     Dr. Fitzer completed his general surgery residency at Memorial Health University

Medical Center in Savannah, Georgia, where he developed his interest in the treatment of obesity.

       53.     Dr. Fitzer also underwent a year of formalized training in bariatric surgery after

residency—a bariatric surgery fellowship—at the University of Missouri.

       54.     During this fellowship, he received intensive training by experts in how to implant

the LAP-BAND® and manage LAP-BAND® patients pre- and post-operatively.




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        55.     Dr. Fitzer entered private practice in Utica, New York and operated at St. Luke’s

Hospital, a Bariatric Center of Excellence.

        56.     With Dr. Fitzer’s help, St. Luke’s gained recognition from Healthgrades for the best

bariatric surgery outcomes in New York State. He practiced there for five years and performed

approximately 1,700 bariatric operations before returning to Virginia.

        57.     Dr. Fitzer moved his practice from New York to Virginia in 2012.

        58.     Dr. Fitzer is licensed by the Virginia Board of Medicine.

        59.     At the time his membership from the website was revoked by Defendant Allergan,

Dr. Fitzer was the only local surgeon in their referral base who had formal Bariatric Surgery

Fellowship training, to his knowledge.

        60.     At the time the original complaint was filed in this matter, Dr. Fitzer had performed

more than 2,000 successful bariatric procedures including approximately 100 surgeries to implant

the LAP-BAND®.

        61.     Prior to the seal being lifted, there had been no public disclosure of the allegations

contained in this Complaint.

        62.     Dr. Fitzer is the original source of all the information contained in this Complaint

within the meaning of 31 U.S.C. § 3730(e)(4)(B).

        63.     Dr. Fitzer has independent knowledge of all the information contained herein, and

Dr. Fitzer has voluntarily provided such information to the United States as well as the above listed

States prior to filing this action.

II)     DEFENDANTS

        64.     Defendant, Allergan, Inc., hereafter “Allergan,” at relevant times had a principal

place of business at 2525 Dupont Drive, Irvine, CA 92612.




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       65.       Allergan is a publicly company traded on the New York Stock Exchange under the

symbol “AGN.”

       66.       Allergan manufactured and sold the adjustable gastric band, registered under the

trademark “LAP-BAND®” in the United States beginning in approximately 2005.

       67.       As part of promoting the LAP-BAND® service line, Allergan created, maintained,

and promoted www.lapband.com, which included the web-based physician locator that allows the

public to find bariatric surgeons in their area.

       68.       Dr. Fitzer filed his qui tam complaint under seal against Defendant Allergan on

November 26, 2013 while it still owned the LAP-BAND® brand.

       69.       Defendant Apollo Endosurgery, Inc., hereinafter “Apollo”, has a principal place of

business at 1120 S. Capital of Texas Highway, Building 1, Suite 300 Austin, TX 78746.

       70.       Apollo acquired the obesity intervention division of Allergan, including the LAP-

BAND® brand in or about December 2013 for $110 million.

       71.       According to Apollo’s Form 10-K filed on March 24, 2017, the transfer of

responsibility for activities related to the acquired Allergan business at issue were as follows:

             •   transfer of United States sales force in December 2013;

             •   transfer of United States distribution in September 2014;

             •   transfer of Europe, Canada and Australia sales force and distribution in
                 November 2014;

             •   transfer of most worldwide regulatory activities in December 2014;

             •   transfer of product surveillance activities in October 2015;

             •   transfer of Brazilian sales and distribution activities in November 2015; and

             •   start of Costa Rica manufacturing operations in June 2016.




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         72.     Additionally, as described below, many of Allergan’s employees and executives

transferred to Apollo in connection with the sale of the LAP-BAND®.

         73.     About 100 of Allergan’s sales representatives transferred to Apollo. In January

2014, Ted Stephens, then V.P. of Global Marketing for Apollo noted, “It was a very valuable sales

channel for us to have acquired, and we’re now the only company of our size with a meaningful

sales channel with this kind of reach.” 1

         74.     Among individuals known by Dr. Fitzer to have transferred to Apollo were Mark

Didio, Jeff Stitely, and Paul Hickey. These three individuals were aware that Dr. Fitzer believed

the quota system amounted to an illegal kickback scheme, and therefore healthcare fraud.

         75.     Dr. Fitzer filed an amended complaint under seal to include Defendant Apollo on

August 1, 2014.

         76.     Apollo continued to operate the relevant website with the same or similar

marketing, policies, and practices in place at least until Apollo’s sale of the LAP-BAND® in

December 2018, to the best of the Plaintiff-Relator’s knowledge.

         77.     On December 17, 2018, Reshape Lifesciences, Inc. acquired the LAP-BAND®

brand from Apollo. According to the acquisition annual report, Apollo retained liabilities from

the time prior to the acquisition.

         78.     Reshape Lifesciences abandoned Defendants’ quota-based inclusion criteria.




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    Chad Swiatecki, When thinking big pays off, The Austin Business Journal (Jan. 31, 2014).


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                             RELEVANT LEGAL BACKGROUND

I)     THE ANTI-KICKBACK STATUTE

       79.     Under the Anti-Kickback Statute, it is a crime to “knowingly and willfully solicit[]

or receive[] any remuneration (including any kickback, bribe, or rebate) directly or indirectly,

overtly or covertly, in cash or in kind—”

       (A) in return for referring an individual to a person for the furnishing or arranging
       for the furnishing of any item or service for which payment may be made in whole
       or in part under a Federal health care program, or

       (B) in return for purchasing, leasing, ordering, or arranging for or recommending
       purchasing, leasing, or ordering any good, facility, service, or item for which
       payment may be made in whole or in part under a Federal health care program[.]

42 U.S.C. § 1320a-7b(b)(1).

       80.     The Anti-Kickback Statute also imposes criminal liability on persons who

“knowingly and willfully offer[] or pay[] any remuneration (including any kickback, bribe, or

rebate) directly or indirectly, overtly or covertly, in cash or in kind” to induce a person

       (A) to refer an individual to a person for the furnishing or arranging for the
       furnishing of any item or service for which payment may be made in whole or in
       part under a Federal health care program, or

       (B) to purchase, lease, order, or arrange for or recommend purchasing, leasing, or
       ordering any good, facility, service, or item for which payment may be made in
       whole or in part under a Federal health care program[.]

42 U.S.C. § 1320a-7b(b)(2).

       81.     Additionally, the Anti-Kickback Statute imposes criminal liability on any person

who “knowingly and willfully makes or causes to be made any false statement or representation

of a material fact in any application for any benefit or payment under a Federal health care

program[.]” 42 U.S.C. § 1320a-7b(a).

       82.     Medicare and Medicaid each qualify as a “Federal health care program” as defined

in the Anti-Kickback Statute. 42 U.S.C. § 1320a-7b(f).


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          83.    The Anti-Kickback statute defines “remuneration” to include in part “transfers of

items or services for free or for other than fair market value.” 42 U.S.C. § 1320a-7a(i)(6).

          84.    “Remuneration” includes anything of value. See, e.g., Medicare and State Health

Care Programs: Fraud and Abuse; OIG Anti-Kickback Provisions, 56 Fed. Reg. 35952-01 (Jul. 29,

1991) (“Congress’s intent in placing the term ‘remuneration’ in the statute in 1977 was to cover

the transferring of anything of value in any form or manner whatsoever.”); see also United States

ex rel. Gohil v. Sanofi U.S. Servs. Inc., No. CV 02-2964, 2020 WL 6682483, at *10 (E.D. Pa.

Nov. 12, 2020) (“Courts generally interpret the term ‘remuneration’ ‘expansively to include

anything of value in any form whatsoever.’” (internal citation omitted)).

          85.    For example, the Office of the Inspector General of the Department of Health and

Human Services (“HHS-OIG”), in 1994, issued a special fraud alert, stating the Anti-Kickback

Statute could be implicated by

          [a]ny prize, gift or cash payment, coupon or bonus (e.g., airline discounts and
          related travel premiums), offered to physicians and/or suppliers ... in exchange for,
          or based on, prescribing or providing specific prescription products. These items
          are particularly suspect if based on value or volume of business generated for the
          drug company.

OIG Special Fraud Alerts (Dec. 19, 1994). 2

          86.    In 2003, HHS-OIG stated that “[a]ny time a pharmaceutical manufacturer provides

anything of value to a physician who might prescribe the manufacturer’s product, the manufacturer

should examine whether it is providing a valuable tangible benefit to the physician with the intent




2
    https://oig.hhs.gov/fraud/docs/alertsandbulletins/121994.html (last visited May 10, 2021).


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to induce or reward referrals.” HHS-OIG, Guidance to Pharmaceutical Manufacturers 28 (April

2003). 3

           87.   One of the purposes of the Anti-Kickback Statute is to help “protect patients from

inappropriate medical referrals by providers who may be unduly influenced by financial

incentives.” OIG Advisory Opinion No. 98-16. 4

           88.   The integrity of the patient-physician relationship is comprised when anyone

including companies such as these Defendants, provide illegal remuneration to physicians in order

to induce them to use the company’s products.

           89.   A person “need not have actual knowledge of [the Anti-Kickback Statute] or

specific intent to commit a violation of the [Anti-Kickback Statute]” to be found to have violated

the Act. 42 U.S.C. § 1320a-7b(h).

           90.   In 2010, Congress amended the Anti-Kickback Statute to clarify that all claims

submitted to federal healthcare programs that include items or services “resulting from” Anti-

Kickback Statute violations constitute false or fraudulent claims under the FCA. 42 U.S.C. §

1320a–7b(g).

           91.   While the statute does not define the term “resulting from,” the Congressional

Record suggests “it was enacted to avert ‘legal challenges that sometimes defeat legitimate




3
  This compliance guided was “intended to assist companies that develop, manufacture, market,
and sell pharmaceutical drugs or biological products (pharmaceutical manufacturers) in
developing and implementing internal controls and procedures that promote adherence to
applicable statutes, regulations, and requirements of the federal health care program…”)
https://oig.hhs.gov/fraud/docs/complianceguidance/042803pharmacymfgnonfr.pdf (last visited
May 10, 2021).
4
  https://oig.hhs.gov/fraud/docs/advisoryopinions/1998/ao98_16.htm (last visited on May 10,
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enforcement efforts.’” United States ex rel. Greenfield v. Medco Health Sols., Inc., 880 F.3d 89,

95 (3d Cir. 2018) (quoting 155 Cong. Rec. at S10853, 2009 WL 3460582).

        92.     Further, the 2010 amendment was “part of an overall effort . . . ‘to strengthen[]

whistleblower actions based on medical care kickbacks” as well as “to ensure that all claims

resulting from illegal kickbacks are considered false claims.” United States ex rel. Bawduniak v.

Biogen Idec, Inc., No. 12-CV-10601-IT, 2018 WL 1996829, at *5 (D. Mass. Apr. 27, 2018) (citing

Greenfield, 880 F.3d at 96).

        93.     “[C]ourts have found scienter where one purpose of the remuneration was to induce

referrals.” United States v. Berkeley Heartlab, Inc., 225 F. Supp. 3d 460, 468 (D.S.C. 2016)

(collecting cases); see also OIG Advisory Opinion No. 08-19 (acknowledging the Anti-Kickback

Statute “has been interpreted to cover any arrangement where one purpose of the remuneration

was to obtain money for the referral of services or to induce further referrals” (emphasis in

original)). 5

        94.     This condition applies regardless of which entity is submitting the claim. See 31

U.S.C. § 3729(a)(1)(A) (imposing liability not only on a person who presents a false or fraudulent

claim, but also on an individual who “causes” the false or fraudulent claim “to be presented”); see

also United States ex rel. Wood v. Allergan, 246 F. Supp. 3d 772, 818 (S.D.N.Y. 2017) (“[C]ase

law makes clear that the FCA reaches claims rendered false by one party, even if they are submitted

to the Government by another downstream entity.”), reversed and remanded on other grounds by,

899 F.3d 163 (2d Cir. 2018).




5
  https://oig.hhs.gov/fraud/docs/advisoryopinions/2008/AdvOpn08-19.pdf (last visited May 10,
2021)


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       95.     The Anti-Kickback Statute does include a “safe-harbor” provision for referral

services, but it clearly indicates the conditions a referral service must meet in order to qualify for

this exception. See 42 C.F.R. § 1001.952.

       96.     Neither Allergan nor Apollo took the steps required to avail themselves of these

affirmative defenses, and none of the safe-harbor provisions apply to their illegal conduct.

       97.     As described below, compliance with the Anti-Kickback Statute is a prerequisite to

payment and reimbursement and is material to the government’s decision to pay. See 42 U.S.C. §

1320a-7b(g) (explaining that claims resulting from a violation of the Anti-Kickback Statute are

false or fraudulent claims under the False Claims Act).

       98.     In place of making cash payments to induce surgeons to use the LAP-BAND®, the

Defendants instead provided lucrative advertising for free on their website, publicity, and inclusion

in their free physician locator feature in exchange for use of their product. Here, the free exposure

on their website and free inclusion in the physician-locator feature for referrals—and the many

benefits that flowed from inclusion—qualify as unlawful remuneration.

II)    FEDERAL AND STATE-FUNDED HEALTH INSURANCE PROGRAMS

       A.      Medicare

       99.     Medicare is a federal program administered through the United States Department

of Health and Human Services (“HHS”), insuring people age 65 and older, certain disabled

persons, and persons with permanent kidney failure. Medicare Part A covers inpatient

hospitalization and extended services for patients after hospital discharge. Medicare Part B

provides supplementary medical insurance for medical and other health services, including

hospital outpatient services. Adjustable gastric-band devices, including the LAP-BAND® device

and the Realize® band, are reimbursable through federal programs like Medicare.




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         100.   The Medicare program works by reimbursing health care providers for the costs of

services and ancillary items at fixed rates. Reimbursements are made from the Medicare Trust

Fund.

         101.   The Medicare Trust Fund is supposed to reimburse only for services actually

performed, that were medically necessary for the health of the patient, and that were ordered

specifically by a physician based on the exercise of appropriate medical judgment and with the

best interest of the patient in mind.

         102.   To become a certified Medicare provider, institutional providers and physicians

must enter into Provider Agreements with the Centers for Medicare and Medicaid Services

(“CMS”). As part of this agreement, the applicant must sign the following certification before

seeking reimbursement from Medicare:

         I agree to abide by the Medicare laws, regulations and program instructions that
         apply to this provider. The Medicare laws, regulations, and program instructions
         are available through the Medicare contractor. I understand that payment of a claim
         by Medicare is conditioned upon the claim and the underlying transaction
         complying with such laws, regulations, and program instructions (including, but
         not limited to, the Federal anti-kickback statute and the Stark law), and on the
         provider’s compliance with all applicable conditions of participation in Medicare.

Form CMS-855a (for institutional providers); see also Form CMS-855I (for Physicians and Non-

Physician Practitioners) (agreeing to abide Federal Anti-Kickback Statute along with other federal

laws).

         103.   Applicants represent that they will not “knowingly present or cause to be presented

a false or fraudulent claim for payment by Medicare, and [] will not submit claims with deliberate

ignorance or reckless disregard of their truth or falsity.” Id.

         104.   These certifications remained substantially the same, including compliance with

the Anti-Kickback Statute, throughout the relevant time period.




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          105.   Additionally, certified Medicare providers must fill out and submit the form CMS-

1500, or the electronic equivalent, to make a claim for reimbursement for services rendered.

          106.   Claims for reimbursement by the provider are generally required to be filed “no

later than the close of the period ending 1 calendar year after the date of service.” 6 See 42 C.F.R.

§ 424.44; Patient Protection and Affordable Care Act § 6404.

          107.   In submitting a claim for payment on a form CMS-1500, a provider certifies in part

that “the information on this form is true, accurate and complete”; that the provider has

“familiarized [itself] with all applicable laws, regulations, and program instructions”; that the

claim “complies with all applicable Medicare and/or Medicaid laws, regulations, and program

instructions for payment including but not limited to the Federal anti-kickback statute and the

[Stark Law]”; and that the services provided were medically necessary. These certifications

remained substantially the same during the relevant time period.

          108.   Published statistics analyzing data from the 2010-2019 timeframe indicate that 6.7

percent of bariatric surgery cases in the United States were covered by Medicare. See Kim S,

Becerra AZ, Sarran MA, Williams MD, Schimpke SW, Variation in Bariatric Surgery Utilization

by State from 2010 to 2019: Analysis of the PearlDiver Mariner Database. SURG OBES RELAT DIS.

(2022).

          B.     Medicaid

          109.   Medicaid is a program financed jointly by the federal government and the states

that provides healthcare coverage for qualified low-income individuals.




6
                See                 also                     https://www.cms.gov/regulations-and-
guidance/guidance/transmittals/downloads/r2140cp.pdf


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       110.    Federal funds are made available to states that provide medical services to eligible

recipients. States that choose to participate must comply with certain federal Medicaid

requirements and each state administers its own program in accordance with a CMS-approved

state plan. 42 U.S.C. § 1396a.

       111.    The state plan is “a comprehensive written statement submitted by the agency

describing the nature and the scope of [the state’s] Medicaid program and giving assurance that it

will be administered in conformity” with the applicable federal laws and regulations. 42 C.F.R. §

430.10.

       112.    Providers also use the form CMS-1500, or an electronic equivalent, to submit

claims for reimbursement under the Medicaid program. Specifically, related to Medicaid, the form

states: “This is to certify that the foregoing information is true, accurate and complete. I understand

that payment and satisfaction of this claim will be from Federal and State funds, and that any false

claims, statements, or documents, or concealment of a material fact, may be prosecuted under

applicable Federal or State laws.”

       113.    Like Medicare, participation in Medicaid is also conditioned on compliance with

the Anti-Kickback Statute.

       114.    Accordingly, if a party pays a kickback to induce the implantation of a medical

device, as alleged here, the kickback renders the claimant’s certification of compliance false

because the claim does not comply with the Anti-Kickback Statute.

       115.    Published statistics analyzing data from the 2010-2019 timeframe indicates that 7.3

percent of U.S. bariatric surgeries were covered by Medicaid. Kim S, Becerra AZ, Sarran MA,

Williams MD, Schimpke SW, Variation in Bariatric Surgery Utilization by State from 2010 to

2019: Analysis of the PearlDiver Mariner Database. SURG OBES RELAT DIS. (2022).




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       C.      Other Government Funded Health Insurance Programs

       116.    Tricare is the healthcare system of the U.S. military, designed to maintain the health

of active-duty service personnel, provide health care during military operations, and offer health

care to non-active duty beneficiaries, including dependents of active duty personnel and career

military retirees and dependents.

       117.    Additionally, Tricare providers use the form CMS-1500, or the electronic

equivalent, to make a claim for reimbursement for services rendered.

       118.    Thus, in submitting a claim for payment on a form CMS-1500, a Tricare provider

also certifies in part that “the information on this form is true, accurate and complete”; that the

provider has “familiarized [itself] with all applicable laws, regulations, and program instructions”;

that the claim “complies with all applicable Medicare and/or Medicaid laws, regulations, and

program instructions for payment including but not limited to the Federal anti-kickback statute and

the [Stark Law]”; and that the services provided were medically necessary.”

       119.    The Veterans Administrations (“VA”) provides health care and other benefits to

veterans of the military.

       120.    States also have health care plans to cover state employees. Cities, towns, and other

political subdivisions of the States also cover employees through such health care plans.

       121.    Proper reimbursements under each of these programs is also premised on

compliance with federal law, including the Anti-Kickback Statute.

       122.    These programs reimburse for medically necessary bariatric surgery including

LAP-BAND® surgery.




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                                   FACTUAL ALLEGATIONS

I)      THE LAP-BAND® DEVICE

        123.    Defendants’ adjustable gastric band or LAP-BAND® is an implantable medical

device approved by the FDA in 2001 for the treatment of obesity.

        124.    The LAP-BAND® is implanted in a patient to adjust digestive function in a manner

intended to reduce hunger and lessen the amount of food required to feel satisfaction.

        125.    During the relevant time period, LAP-BAND® implant procedures were conducted

throughout the United States.

        126.    Surgeons were not eligible to independently use the LAP-BAND® device in weight

loss surgery until they completed an FDA-mandated training course.

        127.    Defendants were responsible for providing the requisite training to certify surgeons

for implantation.

        128.    During the relevant time period, the training consisted of a two-day didactic session

followed by on-site proctoring by an Allergan designee.

        129.    A surgeon obtained final certification to perform the LAP-BAND® procedure after

successfully completing two proctor-supervised LAP-BAND® implantation procedures.

        130.    As of the date that the First Amended Complaint was filed, there were

approximately 594 facilities approved to do the procedure by CMS, including at least one such

facility in each of the above-listed states.

        131.    While the LAP-BAND® is one surgical option for addressing obesity, it was

neither the only nor the favored surgical weight loss option during the relevant times. Alternatives

to the LAP-BAND® include the Gastric Bypass and Sleeve Gastrectomy procedures.

        132.    During the relevant time period, the LAP-BAND® device itself cost hospitals

approximately $3,000 apiece.


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       133.    Costs for office visits, LAP-BAND® adjustments, reoperations, upper

endoscopies, management of complications, and conversions to other operations add substantially

to the initial cost of implanting the device.

       134.    The initial adjustable gastric band surgery, during the relevant time period averaged

approximately $14,000 for most insurers, and about $12,345 for Medicare.

       135.    The pre-operative phase of LAP-BAND® surgery often entails an extensive

amount of testing and other procedures. This preoperative preparatory work that results from a

recommendation for LAP-BAND® surgery substantially increases the total cost insurers pay each

time a LAP-BAND® procedure is performed. For the first few years after implantation of the

LAP-BAND®, frequent post-operative office visits are recommended.

       136.    The LAP-BAND® adjustment procedures are integral to the wellness of LAP-

BAND® patients. The need for such adjustments is the expected result of LAP-BAND®

implantation, and they occur at a substantial proportion of LAP-BAND® aftercare visits to

providers.

       137.    Notably, Defendants also sold the adjustment kits necessary for the aforementioned

adjustment procedures. LAP-BAND® procedures, therefore, carried the potential to provide the

Defendants with a revenue stream long into the future.

       138.    LAP-BAND® patients frequently have complications, that result in increased

doctors’ visits, hospitalizations and/or repeat surgery.

       139.    To be able to choose the best option for their own care, patients must have full and

appropriate information about any procedure contemplated, as well as its alternatives.




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       140.    The process by which a bariatric surgeon conveys a recommendation for a specific

bariatric surgery is generally a lengthy, multi-stage process. It is not a discreet event whose

occurrence can be tracked to a certain, identifiable moment.

       141.    The process by which a surgeon conveys and then confirms acceptance of a

recommendation is the “informed-consent” process, which contains multiple steps.

       142.    In the United States, a patient always meets the surgeon at least once in an office

setting some time prior to the day of surgery. The surgeon is ostensibly responsible for ensuring

the patient properly understands the risks, benefits, and alternatives related to the recommended

surgery. After the informed-consent process is completed, the doctor attests to having provided

the information needed for informed-consent, and the patient attests to receiving that information,

and their desire to proceed, with their signatures.

       143.    On the day of surgery, patients and doctors re-affirm in writing that information

necessary to consent to the recommended surgery has been conveyed to the patient, and that the

patient desires to proceed with the recommended surgery. The reaffirmation is signed by both

parties on the hospital’s informed-consent document.

       144.    During the period in question, 2012 through at least 2018, Medicare only

reimbursed LAP-BAND surgery when performed at an inpatient hospital facility.

       145.    Medicare conditions of participation include the requirement that “[a] properly

executed informed consent form for the operation must be in the patient's chart before surgery,

except in emergencies.”42 C.F.R § 482.51(b)(2); see also, 42 C.F.R § 482.24(c)(2)(v). Informed

consent generally also requires informing the patient of “the burdens, risks, and expected benefits

of all options, including forgoing treatment.” AMA Code of Medical Ethics Opinion 2.1.1 (b)(3).




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       146.    The Defendant’s entire scheme was set up to circumvent these requirements by (1)

pressuring doctors into making their quota of LAP-BAND® referrals, and (2) funneling patients

to doctors with an incentive only to provide the LAP-BAND® instead of other surgery, even

another gastric band.

II)    DEFENDANTS’ OPERATION OF LAPBAND.COM

       147.    Apollo, and before it, Allergan, operated the www.lapband.com website.

       148.    The website provided the public with marketing information about Defendants’

LAP-BAND® product.

       149.    Specifically, the website also included a physician locator at relevant times. To

operate the physician locator, Defendants maintained and managed a database of qualifying

surgeons, who opted in, and were granted inclusion, to Defendants’ website.

       150.    When a potential patient visited www.lapband.com in 2013, for example, a popup

window appeared, indicating “Lapband.com would like to use your current location to help you

find a specialist in your area” and directing them to insert their zip-code. The locator was available

from every webpage. Sometimes a locator window spontaneously popped up without being

summoned by a click. In October 2013, the pop-up appeared as follows:




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       151.    Website visitors including potential patients were prompted to input their zip code

into Defendants’ locator, which responded by providing contact information and qualifications for

surgeons.

       152.    Surgeon listings on www.lapband.com provided an active hyperlink to the

surgeon’s websites, which had positive rippling effects on search optimization for those websites.

When potential patients clicked through, the conversions also served to optimize surgeons’ own

websites. The extra web traffic improved their search ranks, and further increased their virtual

exposure to potential patients.

       153.    The surgeons’ information displayed on the locator was provided to Defendants by

each physician.

       154.    In fact, the LAP-BAND® website made this clear at the time, stating: “The list of

specialists generated by your search criteria is based on the ZIP code that you entered. The




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information and content in the LAP-BAND® System Specialist Locator tool is provided solely by

the specialist.” 7 (emphasis added).

       155.    The following web capture depicts this notice from October 2013:




       156.    This notice was also present during the time that Defendant Apollo owned and

operated www.lapband.com.

       157.    In or about 2015, Dr. Fitzer began to perform procedures that required other

medical devices made and marketed by Apollo. Among those products were the OverStitch device

and the Orbera intragastric balloon.

       158.    Apollo launched a physician locator for that the Orbera device on its promotional

website, www.orbera.com.

       159.    In or around March 2014, Joe SySantos became account manager at Apollo for the

OverStitch and LAP-BAND product lines in the territory that included Dr. Fitzer’s hospitals.




7
 As described below, Defendants began referring to physicians on their physician locator tool as
“Specialists” following Dr. Fitzer’s removal from the locator and mass ejection of bariatric
surgeons from the locator in March 2013.


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       160.    When the Orbera was approved by the FDA, SySantos assumed responsibility for

it as well. After Dr. Fitzer expressed interest in Orbera training, SySantos emailed Dr. Fitzer a

“Physician Locator Form” in October 2016, and instructed him to complete it. A sample of the

form is as follows:




       161.    Joe SySantos told Dr. Fitzer that full completion of the form was required to obtain

a locator listing for Orbera.

       162.    The form’s checkboxes indicated that it is the same form used to register surgeons

for the LAP-BAND® locator, as Relator highlighted in the image in paragraph 160.




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       163.      Dr. Fitzer was first asked by Allergan to complete a similar form to obtain his LAP-

BAND® locator listing in 2007 and 2012.

       164.      In or about 2014, the LAP-BAND® physician locator profiles were modified to

include color photos and practice-specific statistics. The following is an example of a portion of

the physician’s profile page on www.lapband.com as it appeared in November of 2014:




       165.      The statistics in this profile are not generally available from another source besides

the physician.

       166.      Until approximately March 2013, Defendant Allergan also listed up-to-date

seminar schedule information for any doctor on its site.

       167.      This sophisticated seminar sign-up system was another useful benefit for the

surgeons on the locator. The seminar schedule was listed on a surgeon’s profile. The surgeon




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provided details such as seminar dates the maximum number of people, and location, and then

patients were able to click on them and input their information.

       168.    Defendant Allergan emailed surgeons a “Daily Summary of Seminar Registrations”

from a no-reply@allegan.com account, alerting the physician of registrations received by Allergan

for the surgeon’s seminar. The summary included the name and contact information for the

individuals registered. By way of example, Dr. Fitzer received one of these emails in 2012:




       169.    The email stated in part: “For a view of all registrations for your Seminars, log in

to your LAP-BAND® Central account.”

       170.    LAP-BAND® Central accounts were a convenient means by which physicians

could complete tasks related to managing a LAP-BAND surgery practice. Surgeons accessed their

LAP-BAND® Central accounts by logging in on www.lapbandcentral.com.

       171.    Once logged in, physicians could access various features. Among them were

training materials, including videos; an online store where LAP-BAND adjustment equipment


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could be ordered; and a dashboard, through which surgeons could view update seminar

information, etc.

       172.      On the basis of his Orbera training, Dr. Fitzer was later granted a limited

www.lapbandcentral.com account with access limited to Orbera-related features in or about

November 2016. This account provided a “referral dashboard” where referrals received from the

Orbera locator website were listed, including the referral date, the name of the referred patient,

their telephone number, their email, the office they were referred to, and the source of the referral

(e.g., Orbera.com in this instance).” Defendants did not restore Dr. Fitzer’s access to the LAP-

BAND functionality or his www.lapband.com locator listing when granting him access to

www.lapbandcentral.com.

       173.      The above notices, postings, and communications make clear that physicians were

active, knowing participants in the process of securing a listing on the locators operated by the

Defendants.

       174.      During the relevant time period, Defendants marketed the website extensively,

causing it to become a popular way for patients throughout the United States to find their weight-

loss surgeons.

       175.      By way of example, Defendants ran commercials expressly directing the viewer to

“[g]o to www.lapband.com [t]o find a Specialist in your area.” This commercial, like most of

Defendants’ promotions, had the visible goal of sending patients to the locator. The surgeons on

the locator reaped the benefits of the advertising and paid nothing for it.

       176.      In Dr. Fitzer’s personal experience, the LAP-BAND® physician locator was widely

known among bariatric surgeons. Dr. Fitzer knew this through discussions he had with other

bariatric surgeons about practice management.




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        177.    Dr. Fitzer’s former office suitemate once attributed his entire practice to referrals

from www.lapband.com.

        178.    Www.lapband.com had a very polished and professional design, and Defendants

obviously had invested substantial time and money on it. It enjoyed a very high search rank on

popular search engines like Google.

        179.    Defendants also spent lavishly on search-engine advertising to increase traffic to

the site and maintain its popularity. By way of example, the first ad below appeared when Relator

searched “lap band” on Yahoo in February 2014, and the second image appeared when Relator

searched “lap band” on Google in May 2013:




        180.    Defendants optimized the website and bought search-engine advertising spots to

increase its online traffic.

        181.    The General Manager of the Obesity Business Department at Allergan, Jim

Caggiano, estimated that the marketing budget reached $60 million. According to SEC filings,

Allergan spent $171.4 million on advertising alone in 2010.




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       182.    Marketing included Allergan’s website www.lapband.com.

       183.    The website provided constant exposure and flow of business to the included

surgeons. It represented one of the most effective methods of marketing for them, and therefore,

website access and inclusion was greatly valuable to the included weight-loss surgeons.

       184.    Alternative forms of web-based marketing were costly in time and effort, and they

were generally less effective than inclusion on www.lapband.com during this time.

       185.    By way of example, between March 1, 2013 and March 1, 2015, Dr. Fitzer spent

approximately $202,000 on Google ads, approximately $30,000 on Bing ads, and approximately

another $28,000 on search engine optimization for his practice website. In monitoring his own ads,

Dr. Fitzer recognized that www.lapband.com was a fierce competitor in the click-ad space.

       186.    Between March 1, 2013 and March 1, 2015, at least 50% of Dr. Fitzer’s patients

found him through online search ads.

       187.    It was common practice for websites to charge surgeons for inclusion on their

platforms. In Dr. Fitzer’s experience, a year of exposure typically cost thousands of dollars.

       188.    By    way    of   example,    Dr.     Fitzer   paid   $6,000   to   be   listed   on

yourbariatricsurgeryguide.com for a single year’s exposure.

       189.    Dr. Fitzer also paid $3,500 to be listed on locateadoc.com for a single year’s

membership in their locator during the relevant time period.

       190.    During the relevant times, Dr. Fitzer paid $198 per month to be included in the

Obesityhelp.com surgeon locator.

       191.    Unlike Defendants, the companies behind these paid websites were not pursuing

other financial goals in the healthcare marketplace as none of them were associated with the

manufacturing of any product and had no financial stake in the outcome of referrals they made.




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       192.    Thus, online advertising—especially well trafficked advertising—was and is costly

and of considerable value to bariatric surgeons. Advertising was a necessity for a bariatric surgery

practice.

III)   DR. FITZER’S INTERACTIONS WITH LAPBAND.COM

       A.      Dr. Fitzer Registers for www.Lapband.com.

       193.    In fall 2006, Dr. Fitzer completed LAP-BAND® certification and training.

       194.    His then LAP-BAND® account manager provided him with a form requesting

various contact information. The account manager indicated the completed form had to be returned

to obtain a www.lapband.com locator listing. Dr. Fitzer returned the form and obtained a listing.

       195.    This form appeared to be used as routine business and was not tailored to Relator.

       196.    In February 2012, Dr. Fitzer moved to Northern Virginia to start his own bariatric

surgery practice.

       197.    Having just arrived in a new market, Dr. Fitzer was looking to increase his market

presence.

       198.    Dr. Fitzer attended a practice development seminar in February 2012. The

presentation stressed that inclusion in the www.lapband.com referral database was a very valuable

promotional resource that should be requested by qualified surgeons. They described it as a “must-

have.” Dr. Fitzer was told (and knew from his past experience) that inclusion on the website was

available for surgeons who were trained to perform the LAP-BAND® procedure, and that he

should contact the company if he wished to be included.

       199.    At the time, the website was a popular and easy way for potential patients to find a

surgeon in their area who performed bariatric surgery.




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       200.    As a professional bariatric surgeon who was trained in and willing to implant the

LAP-BAND®, Dr. Fitzer had a natural interest in consulting with patients who were considering

having the LAP-BAND® or any other bariatric procedure.

       201.    On March 6, 2012, Dr. Fitzer met with Allergan Account Manager Meagan

McDaries.

       202.    Dr. Fitzer asked to be included in the database for referrals by www.lapband.com.

       203.    Rather than simply signing Dr. Fitzer up, Ms. McDaries instead probed into his

decision-making process with regard to recommending a LAP-BAND® implant as opposed to

other kinds of surgery.

       204.    She asked what would make him decide to do a LAP-BAND® procedure and in

what percentage of these cases he would be likely to do a LAP-BAND® implant.

       205.    Ms. McDaries encouraged Dr. Fitzer to track leads he received from the LAP-

BAND® website and provided Dr. Fitzer with a “LAP-BAND Patient Log” spreadsheet to do so.

She indicated that the patient tracker was provided for free to all LAP-BAND® surgeons.

       206.    Tracking leads generated by the website allowed surgeons like Dr. Fitzer to

acknowledge the true value of inclusion on the locator.

       207.    Ms. McDaries informed Dr. Fitzer that he would be granted access to the website

and therefore added to the physician locator.

       208.    Ms. McDaries encouraged Dr. Dan Turgeon, a general surgeon of Dr. Fitzer’s

acquaintance, to register for LAP-BAND® training. She provided a workshop application, which

included a question for the surgeon, asking that the surgeon provide an estimate of the annual

number of LAP-BAND® System cases they will perform in a year.




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        209.     There was no obvious training-related reason for Allergan to want that information.

The application indicated that a surgeon-trainee only needed to complete two proctored cases to

become eligible to perform cases independently.

        210.     The application also appeared to give a surgeon’s sales representative veto power

over a surgeon’s ability to obtain LAP-BAND training by requiring the representative to provide

a signature approving the surgeon’s attendance.

        B.       Defendants Pressure Dr. Fitzer to Use LAP-BAND®.

        211.     Ms. McDaries came to Dr. Fitzer’s Reston office a few days after the lunch meeting.

She provided him with a surgeon locator information form similar to the form identified in in

paragraph 160. After Dr. Fitzer completed the form and returned it to her, she sat down and entered

the data into her laptop, double-checking the information verbally as she went.

        212.     After Dr. Fitzer was told that he would be listed on the website in 2012, Dr. Fitzer

was subjected to a roughly two-month wait prior to appearing on www.lapband.com.

        213.     There was no technical reason why such an approval should not occur

instantaneously, and Dr. Fitzer was given no substantive reason why the delay occurred.

        214.     The only other surgeon listed on the website in Dr. Fitzer’s zip code at that time

was Dr. Robert Pinnar, who was a LAP-BAND® only surgeon, meaning he only offered the LAP-

BAND® as a surgical option to treat obesity.

        215.     Any referrals made by Allergan to a LAP-BAND® only surgeon would likely result

in the sale of a LAP-BAND® because they would not be able to perform any of the other

recommended procedures to treat obesity and would also be unlikely to recommend those

alternatives, including the competing medical device, the Realize® band, which required separate

certification.




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       216.    Dr. Fitzer was added in June of 2012. He felt the impact of his inclusion in the

locator immediately with an increase in inquiries to, and patient traffic through, his office.

       217.    However, Dr. Fitzer also experienced problematic and unexplained gaps in service

with his account.

       218.    Dr. Fitzer has reason to believe that these gaps in service resulted from Allergan’s

dissatisfaction with his LAP-BAND® productivity.

       219.    Dr. Fitzer also had reason to believe Allergan monitored the number of LAP-

BAND® procedures that surgeons on its site conducted and gave preferential treatment to LAP-

BAND® only doctors by having their advertising display more often to consumers looking at the

site. Further, Dr. Fitzer noticed that in some cases the listings did not sort according to distance,

nor were surgeons listed alphabetically.

       220.    On or about September of 2012, Dr. Fitzer found that he could not update his

informational seminar schedule in Allergan’s referral base because he was “locked out” of his

www.lapband.com account. 8 To www.lapband.com website visitors, it would seem that Dr. Fitzer

was not in business. He asked Allergan to restore his access.

       221.    It took multiple calls and emails and additional time before Allergan restored Dr.

Fitzer’s access to his account. Allergan was willing to discuss the reasons for the account outage

by email.

       222.    Dr. Fitzer was aware that other surgeons, including his LAP-BAND® only

suitemate, continued to schedule seminars and conduct business as usual on the website while he

was unable to do so.




8
  Allergan later discontinued listing such seminars on its website, and instead provided links
directly to surgeons’ own websites where the surgeons may list such seminars.


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       223.    To Dr. Fitzer’s knowledge, LAP-BAND® only surgeons did not experience the

same lockouts as Dr. Fitzer.

       224.    The message to Dr. Fitzer or any bariatric surgeon was unmistakable: to keep

access to referrals and other valuable benefits from Allergan’s physician locator and access to its

website marketing capabilities, surgeons should encourage LAP-BAND® procedures over any

other procedures. This of course would deny patients of a real opportunity to choose another

procedure as part of a full informed consent process.

       225.    In addition, by favoring the LAP-BAND® only surgeons, Defendants not only

increased orders of their medical device, but Defendants also incentivized other bariatric surgeons

to increase their recommendations of the medical device. If surgeons who were cable of doing the

other procedures wanted to compete in the marketplace for patients, they had to refer the LAP-

BAND®.

       226.    Defendants’ offer of financial incentives to surgeons to recommend their product

to patients rather than discuss all alternatives perverts the informed consent process, which is

central to medical ethics and a condition of participation for Medicare and other government

programs. See 42 C.F.R. §. 482.51(b)(2); C.F.R. §482.24(c)(2)(v).

       C.      Allergan Removed Dr. Fitzer From Its Website Database Based On LAP-
               BAND® Sales Quota.

       227.    Dr. Fitzer was denied website access and was removed from the physician locator

in March of 2013.

       228.    Dr. Fitzer first learned that he had been removed while attempting to order LAP-

BAND® related medical supplies from Allergan’s website.

       229.    Dr. Fitzer assumed that it was one of the usual periodic disruptions.

       230.    On March 24, 2013, he sent an email to Jeff Stitely, his Allergan Account Manager:



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       Jeff,

       I just was attempting to access my Lapbandcentral account to order some lap band
       needles, etc. and I found that my account has been deleted.

       I then checked and noted that it was deleted as well from the patient side, meaning
       that a search in my office’s zip code only produced other surgeons.

       I would like to be contacted asap about getting my listing up, and getting those
       needles.

       Thanks for your immediate attention to this.

       231.    Mr. Stitely replied on the same day with no indication that anything was wrong:

       Good Evening Dr. Fitzer,

       Please see the newest ordering catalog that has the direct phone number for ordering
       supplies. This will allow you to at least order needles ASAP. There are several
       reasons that the account may not be allowing you access. I will investigate this
       tomorrow and update you with my findings. Have a good evening.

       Jeff

       232.    In his response, Dr. Fitzer was clear that his concern was being able to obtain access

to, and referrals from, the www.lapband.com account, explaining in part:

       By all means, investigate the account’s deletion. The reasons for the disappearance
       of my account, however, are not of primary importance to me, and I do not want
       any investigation into that to delay what is of great importance to me - - turning on
       the account again. The turning on of the account is what needs to happen tomorrow.

       233.    Allergan never turned on the account, and it remains closed as of this filing.

       234.    Mr. Stitely wrote on March 26, 2013, that he had, “gotten clarification about the

account” and scheduled a call with Dr. Fitzer to discuss the matter on March 26, 2013.

       235.    On or about March 26, 2013, Dr. Fitzer spoke with Mr. Stitely by telephone.

       236.    Mr. Stitely stated that the reason Dr. Fitzer had been removed from the list of

surgeons on the website was because Dr. Fitzer had not conducted at least 40 LAP-BAND®

procedures in a year.




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       237.    Mr. Stitely informed Dr. Fitzer that Allergan had a new policy to condition

inclusion in the referral database on the basis of a surgeon conducting forty (40) LAP-BAND®

implant procedures in a year. This was the first time in his career that Dr. Fitzer had heard of such

a quota, and he was shocked.

       238.    Mr. Stitely had been Dr. Fitzer’s Account Manager since December of 2012 and

had at least two years of previous experience marketing the LAP-BAND®.

       239.    Dr. Fitzer attempted to find help getting reinstated higher in the Allergan chain of

command.

       240.    Dr. Fitzer contacted Paul Hickey, the Regional Director, who referred Dr. Fitzer to

Mark Didio, Allergan’s Vice President of Sales and Mr. Hickey’s supervisor.

       241.    Mr. Didio’s territory included North America.

       242.    Dr. Fitzer emailed Mr. Didio on March 27, 2013, explaining in part:

       Jeff Stitely, my local rep, explained to me that my account was deleted because it
       is Allergan’s policy now to exclude physicians who don’t do 40 bands per year. I
       explained to him that when a medical device maker decides to selectively favor
       only high-referring physician practices with the benefits of their paid
       advertising and web-related services, it is an unambiguous violation of federal
       law. Specifically, I am referring to Stark and Anti-Kickback here.

(emphasis added).

       243.    However, Dr. Fitzer was clear that he wanted to resolve the issue amicably if

possible.

       Personally, I would prefer a more constructive resolution of this situation. What I
       would like is prompt reinstatement of my account and entry under surgeon-search.
       I believe it makes sense for Allergan to do that. The fact is: I am the one surgeon
       in the area who accepts band patients from other surgeons, including out-of-country
       bands. This week, in fact, I saw 4 new LAP-BAND consults seeking to initiate
       follow-up for band they already have.

       244.    Dr. Fitzer closed his email with a request for a written explanation of the Allergan

policy if he was not reinstated:


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       If you feel immediate reinstatement won’t be possible, a written explanation of
       Allergan’s policy of excluding low-referring surgeons from its referral database
       would suffice.

       245.     Allergan did not reinstate him nor has the company provided a written explanation.

       246.     Notably, this was the first time Allergan had ever refused to discuss specific

concerns about his www.lapband.com account in writing.

       247.     Allergan had previously been willing to discuss reasons for referral-service outages

in writing.

       248.     On the evening of March 28, 2013, Dr. Fitzer spoke with Mr. Didio by telephone.

       249.     Mr. Didio confirmed that forty (40) LAP-BAND® procedures were required for

referrals from www.lapband.com.

       250.     Dr. Fitzer told Mr. Didio during this phone call that Defendant Allergan was

committing healthcare fraud.

       251.     Further, Dr. Fitzer attempted to explain to Mr. Didio how Allergan’s conduct

violated the Anti-Kickback Statute. A debate ensued and Dr. Fitzer cited the example of a drug-

branded pen, telling Mr. Didio that companies like Allergan were not even allowed to give away

pens anymore.

       252.     Dr. Fitzer further explained that the advertising benefits with which Allergan was

now rewarding sales were many orders of magnitude more valuable than a pen.

       253.     Dr. Fitzer told Mr. Didio that the new policy was obviously bribery and was

contrary to the Anti-Kickback Statute.

       254.     Dr. Fitzer also told Mr. Didio that given what he read in the newspapers—the LAP-

BAND® device’s rapid market decline, the tentative announcement of a possible sale—it was

obvious what Allergan was up to with the quota. It was a ploy to prop up the LAP-BAND® long

enough to sell it, to avoid the impending write-down.


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       255.    Mr. Didio did not deny it. His response to that accusation was silence.

       256.    Dr. Fitzer told Mr. Didio that if he could not dissuade him from proceeding with

the scheme, which seemed to be the case, then he would be contacting a lawyer.

       257.    In the course of the conversation, Dr. Fitzer mentioned qui tam attorney and the US

Attorney’s office as another possibility. Mr. Didio indicated that he needed to discuss the matter

with Allergan’s CEO.

       258.    At the closing of the call, Dr. Fitzer ask Mr. Didio for documentation of the quota

system in writing, which Mr. Didio refused.

       259.    When Dr. Fitzer asked why Mr. Didio refused to provide him with the quota policy

in writing, Mr. Didio said it was because Dr. Fitzer had talked about involving lawyers.

       260.    Mr. Didio claimed during telephone conversation with Dr. Fitzer that the

requirement of forty LAP-BAND® procedures was related to “quality,” but did not explain how

this requirement was related to “quality” as it is clearly only a measure of quantity.

       261.    Dr. Fitzer disputed Mr. Didio’s sham explanation during this call.

       262.    Notably, the company has never cited a specific issue with regard to Dr. Fitzer’s

work or his patient outcomes as a reason to justify its action as based on “quality.”

       263.    Further, Defendants’ decision not to include surgeons from some of the most

prestigious medical institutions in the world, such as Mayo Clinic, The Cleveland Clinic, and John

Hopkins University, was another indicator that the quality justifications were false.

       264.    If Allergan had a concern that low-referring LAP-BAND® surgeons produce

inadequate outcomes, there are established channels to address that problem, including providing

additional training and petitioning the FDA to change the credentialing procedures for surgeons.




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       265.    At no time did Mr. Stitely, Mr. Didio, or any other Allegan official contradict the

substance of the emails Dr. Fitzer sent regarding the reasons given to remove him from the

database of surgeons referred by www.lapband.com.

       266.    Indeed, Dr. Fitzer learned of the forty (40) LAP-BAND® per year requirement to

obtain referrals as a result of his telephone conversations with both Mr. Stitely and Mr. Didio.

       267.    Mr. Stitely and Mr. Didio both confirmed the requirement that surgeons conduct

forty LAP-BAND® implant procedures per year to be listed on the website and receive referrals.

       268.    At the time Defendant Allergan removed Dr. Fitzer from www.lapband.com and

the locator, to Dr. Fitzer’s knowledge, he had performed more successful bariatric surgeries than

the majority of the surgeons that were permitted to remain on that database available for referral.

       269.    Nonetheless, Mr. Didio maintained that forty (40) implant procedures per year were

required for Dr. Fitzer to be listed on the website and to receive referrals from the

www.lapband.com website.

       270.    Dr. Fitzer subsequently learned of other bariatric surgeons who did not fulfill a forty

(40) LAP-BAND® per year quota, and who were removed from the LAP-BAND® physician

locator at approximately the same time as his listing was.

       271.    Examining the www.lapband.com locator results in other markets allowed Dr.

Fitzer to conclude that his expulsion did indeed reflect a nationwide phenomenon.

       272.    According to Dr. Fitzer’s analysis of American Society for Metabolic and Bariatric

Surgery, the physician locator only included approximately 21% of the surgeons who could

perform the procedure.

       273.    While Defendant Allergan used a forty (40) LAP-BANDS® per year quota that

excluded qualified surgeons from their physician locator, Allergan was still willing to sell




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individual LAP-BANDs® to be implanted by those surgeons who failed to meet the criteria for

inclusion on their website for referral privileges. Defendant Allergan’s claimed concern for

“quality” did not cause it to reject orders or implantation from, or to report to any agency, those

physicians it excluded from its site.

       274.    Following Dr. Fitzer’s removal from the physician locator, Defendant Allergan

began referring to the surgeons listed on www.lapband.com as “Specialists.”

       275.    Defendant Allergan failed to explain publicly why these listed surgeons qualified

as “Specialists” and to Relator’s knowledge, had no independent authority to create credentialing

policy. The “Specialist” designations can only be understood as a marketing tool, another benefit

awarded to surgeons for good LAP-BAND® usage. Defendants used obviously reassuring titles

for which they had no authority to bestow.

       276.    The Defendants have acted to conceal information from patients about some of the

best surgical practices in the world.

       277.    To patients in need of LAP-BAND® care, Defendants’ locator policy would be an

impediment to obtaining that care. When they searched for local bariatric practices on

www.lapband.com, they would find significantly fewer options.

       278.    As a result, patients in need of care who trusted the Defendants’ www.lapband.com

physician finder—seemingly a good resource for finding LAP-BAND® —would often have to

travel much further than necessary for care, or they might have been compelled to forego care

altogether.




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IV)    ALLERGAN IMPLEMENTED AN ILLEGAL QUOTA DURING RAPID
       DECLINE OF LAP-BAND® DEVICE SALES.

       279.    By 2012, annual LAP-BAND® sales revenue had fallen to $160 million from the

$296 million in 2008. 9

       280.    Gastric band procedures had been the most popular weight-loss procedure in 2008,

but by 2013, they comprised only 14% of the U.S. bariatric surgery market. Gastric-band market

share fell to 5.7% by 2015, and it was just 3.4% by 2016.

       281.    With sales plummeting nearly 50% in the span of four years, Allergan understood

that the survival of the LAP-BAND® business was threatened.

       282.    In or about 2012 and 2013, Allergan took actions that reflected tacit

acknowledgement that the LAP-BAND’s prospects were bleak. Primarily, they slashed LAP-

BAND® related business expenses. R&D work on the EasyBand®, a remote-controlled version

of the LAP-BAND®, was terminated, as was an effort to obtain FDA approval to use the LAP-

BAND® in teenagers. In 2013, they scrapped the LAP-BAND TOTAL CARE ™ quality program

and their patient support website, despite having just touted both programs to the FDA in 2012.

       283.    As the LAP-BAND® device’s reputation was imploding, the device’s clinical

performance was pilloried by leading bariatric surgeon-scientists.

       284.    Michel Gagne, a preeminent thought leader in bariatric surgery, discussed

adjustable gastric banding in a July 2012:

       “It's a complete disaster, when you think that banding in the United States, based on the
       BOLD data, is the second-most common procedure," said Dr. Gagner. "Europeans are
       abandoning banding and the Americans are not getting the message. This abandonment



9
 Tess Stynes, “Allergan Agrees to Sell Lap-Band Business” The Wall Street Journal (Oct. 29,
2013), available at
https://www.wsj.com/articles/SB10001424052702303471004579165961441181356 (last visited
Oct. 5, 2021).


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       that we see in Europe — we are probably going to see this in the next few years in the
       United States."

       285.   Other contemporary thought leaders criticized the LAP-BAND® in similarly stark

terms. In a 2013 editorial, Eric Demaria, a past president of the ASMBS bariatric professional

society, had pointed criticism for the LAP-BAND® and, specifically, Allergan:

       Combining the frequent need for reoperation and explantation with the failure of
       the device to consistently provide adequate weight loss has led to the AGB
       procedure’s dramatic fall from popularity.

       …

       Let’s not mince words here: the band flourished, and is now dying, as a result
       of corporate greed. The Lap-Band manufacturer did not listen to experienced
       bariatric surgeons who advised doing the necessary studies to determine which
       subgroups of the broad spectrum of morbidly obese patients were likely to achieve
       good weight loss.

       …

       The fall of the AGB into disfavor was predicted by many, and yet we should take
       no pleasure in being proved correct. Widespread application of yet another bariatric
       surgical procedure that becomes discredited repeats the history of other failed
       bariatric procedures, including…

(emphasis added).

       286.   Walter Pories, another highly respected leader in bariatric surgery and past

president of the ASMBS professional society, was equally blunt in another editorial:

       How long does it take to abandon an operation that does not work? Although the
       high failure rates of LAGB were evident even a decade ago, thousands of patients
       continued to be subjected to this procedure in the United States alone: 9270 in 2003;
       96,800 in 2008; 27,630 in 2011; and 15,523 in 2013 [l ]. Many are still being done
       today. How many of these patients were warned that the operation has a high failure
       rate that would probably require at least one more operation to secure the benefits
       of surgery? How many were warned that this revision would be more dangerous
       than a primary intervention?

       287.   That the LAP-BAND® product line was in trouble was apparent within the

business community. According to Business Insider:




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        You don’t need a crystal ball to see that Allergan (AGN) has run into trouble on
        its Lap-Band stomach shrinking device: Its obesity intervention revenues sank 12
        percent to $54.4 million in Q2 2011, making it an almost negligible part of the
        Botox-maker’s business.

        Allergan has already discontinued one of its gastric banding devices, the EasyBand,
        and there are reasons to believe the company might consider axing the Lap-Band,
        too: It keeps killing and injuring people. 10

        288.     By October, 2012, Allergan CEO Davit Pyott had announced his intention to sell

the entire product line. 11

        289.     In January 2013, Mr. Pyott indicated the LAP-BAND® sale would “come to pass”

in Q1 2013. 12

        290.     By February 2013, the company indicated that there may be “a disposal loss”

related to assets for sale. 13

        291.     Sale to Apollo was finalized in December 2013.

V)      THE REALIZE® BAND

        292.     The Realize® band, the one direct competitor of the LAP-BAND® device, also

encroached on LAP-BAND® market share at this time.

        293.     In or about 2007, the FDA approved the Realize® band, which was manufactured

and sold by Ethicon Endo-Surgery (Ethicon). 14




10
   Jim Edwards, The Maker Of Stomach Lap-Bands May Be Axing The Product Because It Keeps
Killing People, Business Insider, Sept. 8, 2011.
11
   Andrew Pollack, As Sales Fall, Allergan Seeks a Buyer for Lap-Band, N.Y. Times, Oct. 30,
2012).
12
   Ryan Flinn, Allergan Seeks Sale of Obesity Business by First Quarter, Bloomberg, Jan. 8, 2013.
13
   Chad Terhune, Allergan looks to find buyer for Lap-Band unit in first half of 2013, The Los
Angeles Times, Feb. 5, 2013.
14
   BioSpace, FDA Approves Ethicon Endo-Surgery, Inc.’s REALIZE™ Adjustable Gastric Band
for Morbid Obesity (Sep. 28, 2007), https://www.biospace.com/article/releases/fda-approves-
ethicon-endo-surgery-inc-s-realize-tm-adjustable-gastric-band-for-morbid-obesity-/(last accessed
on October 5, 2021).


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          294.   The Realize® band is the only adjustable gastric band other than LAP-BAND® to

be approved by the FDA.

          295.   The Realize® band also had a surgeon locator tool on their flagship website,

www.Realize.com.

          296.   However, unlike www.lapband.com, the website expressly stated the criteria for

surgeon inclusion and did not condition inclusion on the use of their own Realize® band, or any

other specific device.

          297.   In comparison, Defendants failed to make any disclosure of criteria for inclusion

on their website until 2015. Their criteria, when they finally appeared, only counted cases using

their LAP-BAND® product toward the volume requirement. It was therefore literally a sales quota.

          298.   There is no substantial difference between procedures using the Realize® band and

the LAP-BAND®. Placement of the two bands is procedurally very similar, at least with regard to

the important steps.

          299.   Crucially, however, the FDA imposed a separate training requirement for each

device.

          300.   For a surgeon to become eligible to perform the procedure using a LAP-BAND®

device, they had to complete a two-day LAP-BAND®-specific didactic course.

          301.   After completing the didactic course, the surgeon was eligible for LAP-BAND®

proctoring. Allergan had the responsibility to designate surgeons to serve as LAP-BAND®

proctors, who trained other surgeons. A surgeon who had completed the didactic course would

schedule a visit by a LAP-BAND® proctor, and they were also responsible for scheduling at least

two LAP-BAND® procedures for the day of the visit. When the cases were successfully




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completed, the proctor signed off on the surgeon’s completion of the LAP-BAND® training

requirements, and the surgeon would receive the requisite LAP-BAND® certification.

       302.    Ethicon oversaw a structurally similar, but distinct, training regime that could

certify surgeons to use the Realize® device.

       303.    Training was non-transferrable between devices. Completion of LAP-BAND®

training did not permit surgeons to use the Realize® band, nor did Realize® training permit

surgeons to use the LAP-BAND®.

       304.    Accordingly, some surgeons who were certified to implant one device were not

eligible to use the other. Because the LAP-BAND® obtained FDA approval six years earlier than

the Realize®, there were many trained LAP-BAND® surgeons in America by the time the

Realize® appeared on the market.

       305.    In Dr. Fitzer’s case, he delayed Realize® certification until 2012. It had been

available since 2007.

       306.    In order to be eligible to implant the Realize® band, physicians were required to

attend a professional education seminar by Ethicon and receive a Certificate of Completion.

       307.    Dr. Fitzer attended the Realize® training and received the Certificate of

Completion.

       308.    In Dr. Fitzer’s experience, it was (and remains) standard practice for bariatric

surgeons to list all of their certifications and qualifications in promotion materials, including on

their websites and/or social media.




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VI)    DEFENDANT ALLERGAN WAS SUBJECT                              TO    A    CIA     WHEN     IT
       IMPLEMENTED A VOLUME-BASED QUOTA.

       309.    In 2010, Defendant Allergan was subject to a Corporate Integrity Agreement (CIA)

with the HHS-OIG after pleading guilty and paying $600 million to resolve its criminal and civil

liability arising from the company’s unlawful promotion of its Botox® product. 15

       310.    Two of the complaints that lead to the CIA involved AKS claims. 16

       311.    The CIA Allergan entered into with the HHS-OIG in 2010 provided in part that all

officers, directors, and U.S. employees of Allergan or any Allergan Affiliate were “Covered

Persons.” CIA at p. 2.

       312.    The CIA defined “Relevant Covered Persons” as “Covered Persons whose job

responsibilities related to Promotional Function or Product Related Functions.” Id. at p. 3.

       313.    “Promotional Functions” included: “(a) the selling, detailing, marketing,

advertising, promotion, or branding of Government Reimbursed Products; and (b) the preparation,

or external dissemination of promotional materials or information about, or the provision of

promotional services relating to, Government Reimbursed Products, including those functions

relating to any applicable review committees.” Id. at pp. 2-3.

       314.    Critically, at the time Dr. Fitzer spoke with Mr. Didio regarding Allergan’s quota,

Mr. Dido was a “Covered Employee” and a “Relevant Covered Employee” under the operative

CIA.




15
   The United States Department of Justice, Allergan Agrees to Plead Guilty and Pay $600 Million
to     Resolve    Allegations  of    Off-Label    Promotion     to    Botox®,     available   at
https://www.justice.gov/opa/pr/allergan-agrees-plead-guilty-and-pay-600-million-resolve-
allegations-label-promotion-botox (last visited May 10, 2021).
16
   Id.


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        315.    The CIA required “Relevant Covered Persons” to complete at least three hours of

specific training. Id. at pp. 2-3, 17.

        316.    The training was required to cover things like:

              a.     “all applicable Federal health care program requirements relating to
        Promotional Functions and/or Product Related Functions”

               b.     “the personal obligation of each individual involved in Promotional
        Functions and/or Product Related Functions to comply with all applicable Federal
        health care program and FDA requirements and all other applicable legal
        requirements”

                c.    “the legal sanctions for violations of the applicable Federal health
        care program and FDA requirements”

               d.     “examples of proper and improper practices related to Promotional
        Functions and/or Product Related Functions”

Id. at pp. 17-18.

        317.    The CIA also required Allergan to make the promotion of, and adherence to, a Code

of Conduct, a condition of employment. Id. at p. 8.

        318.     The Code of Conduct set forth and was required to continue to include the

following minimum requirements:

               a.     Allergan’s commitment to full compliance with all Federal health
        care program and FDA requirements, including its commitment to market, sell,
        promote, research, develop, provide information about, and advertise its products
        in accordance with Federal health program requirements and FDA requirements.

               b.       Allergan’s requirement that all of its Covered Persons shall be
        expected to comply with all Federal health care program and FDA requirements
        and with Allergan’s own Policies and Procedures as implemented pursuant to
        Section     III.B     (including    the    requirements     of    this   CIA);

               c.      Allergan’s requirement that all of Allergan’s Covered Persons shall
        be expected to report to the Chief Compliance Officer, or other appropriate
        individual designated by Allergan, suspected violations by Allergan or persons
        acting on behalf of Allergan of any Federal health care program and FDA
        requirements or of Allergan’s own Policies and Procedures; and




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                 d.      The right of individuals to use the Disclosure Program described in
          Section III.E, and Allergan commitment to nonretaliation and to maintain, as
          appropriate, confidentiality and anonymity with respect to such disclosures.

Id. at pp. 8-9.

          319.    The CIA required that the Code of Conduct be distributed to each Covered Person

and each Covered Person was required to certify, in writing or electronically, that he or she

“received, read, understood, and shall abide by Allergan’s Code of Conduct.” Id. at p. 9. Covered

persons were required to certify the same for any revised Code of Conducts. Id.

          320.    Additionally, the CIA required Allergan to implement written Policies and

Procedures “regarding the operation of the Compliance Program and Allergan’s compliance with

Federal health care program and FDA requirements (Policies and Procedures)”. Id.

          321.    The Policies and Procedures must address, among other things, appropriate ways

to conduct Promotional Functions and Product Relating Functions in compliance with all

applicable Federal healthcare program requirements, including the AKS and the FCA. (Id. at pp.

10-11).

          322.    Further, Defendant Allergan’s CEO was a “Certifying Employee” as defined in the

CIA, meaning he was expected “to monitor and oversee activities within their areas of authority”

as well as “annually certify, in writing or electronically, that the applicable Allergan component is

compliant with Federal health care program requirements, FDA requirements, and the obligations”

of the CIA. Id. at p. 7.

          323.    Through at least the CIA, Didio specifically and Defendant Allergan generally were

on notice that Allergan must comply with all Federal health care program and FDA requirements,

including the AKS and FCA. Yet, Allergan never attempted to satisfy the conditions of the AKS

referral service safe harbor.




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       324.    What is more, Allergan acknowledged in their 2010 Annual Report what their

obligations were as it relates to the AKS, stating in part:

       We are also subject to various federal and state laws pertaining to health care “fraud
       and abuse” and gifts to health care practitioners. For example, the federal Anti-
       Kickback Statute makes it illegal to solicit, offer, receive or pay any remuneration,
       directly or indirectly, in cash or in kind, in exchange for, or to induce, the referral
       of business, including the purchase or prescription of a particular product, for which
       payment may be made under government health care programs such as Medicare
       and Medicaid. The U.S. federal government has published regulations that identify
       “safe harbors” or exemptions for certain practices from enforcement actions under
       the Anti-Kickback Statute. We seek to comply with the safe harbors where possible.
       The risk of our being found in violation of these laws is increased by the fact that
       many of them have not been fully interpreted by the regulatory authorities or the
       courts, and their provisions are open to a variety of interpretations. Moreover,
       recent health care reform legislation has strengthened these laws. For example, the
       PPACA, among other things, amends the intent requirement of the federal anti-
       kickback and criminal health care fraud statutes; a person or entity no longer needs
       to have actual knowledge of this statute or specific intent to violate it. In addition,
       the PPACA provides that the government may assert that a claim including items
       or services resulting from a violation of the federal anti-kickback statute constitutes
       a false or fraudulent claim for purposes of the false claims statutes.

       325.    The CIA was binding on Apollo when it purchased the LAP-BAND® division:

       In the event that, after the Effective Date, Allergan proposes to sell any or all of its
       business units or locations related to Promotional Functions or Product Related
       Functions that are subject to this CIA, Allergan shall notify OIG of the proposed
       sale no later than 5 days after the date the sale is publicly disclosed by Allergan.
       This notification shall include a description of the business unit or location to be
       sold, a brief description of the terms of the sale, and the name and contact
       information of the prospective purchaser. This CIA shall be binding on the
       purchaser of such business unit or location, unless otherwise determined and
       agreed to in writing by the OIG.

Id. at 42 (emphasis added).

VII)   DEFENDANT APOLLO CONTINUES ILLEGAL PRACTICES FOLLOWING
       ACQUISITION OF ALLERGAN OBESITY INTERVENTION DIVISION.

       326.    All three of the Allergan employees and executives with whom Dr. Fitzer

communicated with about the quota transferred to Apollo in connection with the sale of the LAP-

BAND® division.



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       327.    By way of example, Paul Hickey seems to have simultaneously worked at Allergan

and served as the Northeast Regional Sales Director for Apollo from December 2013 until June

2014. Hickey described his role at Apollo as:

       Transition sales team and client base over to Apollo Endosurgery, who acquired the
       Lapband Bariatric surgery device business unit from Allergan Medical in 2013.
       Increased role to refocus/rebrand the Lapband towards a lower BMI patient market.
       Develop direct to consumer advertising, manage quarterly budget and realign
       business relationships to stabilize the diminishing national gastric band market.

(emphasis added).

       328.    As recently as 2017, Jeff Stitely stated that he was the “Surgical Account Manager

at Apollo Endosurgery (Allergan)” from “December 2012 – present” and described his

responsibilities as “Medical Implant/Device Sales – Lap-Band AP System (Adjustable Gastric

Banding/Bariatric Surgery).”

       329.    Mark Didio also went to Apollo.

       330.    Unsurprisingly, Apollo continued Allergan’s policies. They did not re-instate Dr.

Fitzer or other surgeons who were purged by Allergan; and they maintained the practice of

allowing only a few, select physicians on its locator.

       331.    Despite Dr. Fitzer’s continued exclusion from www.lapband.com referral service,

Defendant Apollo did encourage Dr. Fitzer to use more LAP-BAND®’s.

       332.    For example, in March 2014, Kristen Graham, an Apollo Surgical Account

Manager, called and emailed Dr. Fitzer to encourage additional use of the LAP-BAND® with no

mention of quality-of-care issues as previously raise by Defendant Allergan.

       333.    Further, Ms. Graham forwarded an email from Apollo’s Strategic Business

Manager, Holly Hoefer, to Dr. Fitzer. The email encouraged account managers to explain to

physicians how to track the marketing that Apollo does on their behalf.




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       334.    Ms. Hoefer also worked for Allergan before joining Apollo as a Strategic Business

Manager. She described her in part as:

       Medical Practice Operations and Communications Specialist across U.S. for Apollo
       surgical partners and training expert for Market Development Managers (MDM’s).
       Primary role included sales force training for the development and implementation
       of business solutions for surgical practices that utilize Apollo Endosurgery devices:
       Lap Band, Overstitch, and Orbera.

       335.    Ms. Hoefer’s email instructed account managers to request physicians track the

marketing that Apollo did on their behalf. The email from the Defendants’ medical practice

communications specialist who, in her own words, operated across the U.S., was transmitting the

Defendants’ objective: ensuring surgeons knew of the value Apollo provided on their behalf.

       336.    The email is further evidence that Apollo intended for surgeons to be aware of the

deal they offered: free marketing services could be had in exchange for product loyalty.

       337.    Additionally, Dr. Fitzer had a conversation with Dr. Mario Morales following

Apollo’s acquisition of Allergan’s obesity division.

       338.    In November 2014, Dr. Morales mentioned to Dr. Fitzer that he had learned from

his practice manager that the insertion of enough LAP-BAND®’s leads to a listing on

www.lapband.com. Dr. Morales said that his practice manager heard about this from Defendant

Apollo’s account manager. Both Dr. Morales and his then partner were noted by Dr. Fitzer to have

newly obtained LAP-BAND® listings at that time.

       339.    Access to the website and physician locator was based upon business requirements,

i.e., volume of referrals, as set by Allergan and as maintained by Apollo.

       340.    Defendant Apollo maintained a form of the quota through at least 2018.

       341.    Apollo continued Allergan’s practice of referring to listed surgeons on

www.lapband.com as “Specialists” following its acquisition, again, without providing any public

explanation as to what would qualify a surgeon to be a specialist until 2015.


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       342.     What is more, Defendant Apollo misleadingly directed consumers to use a “LAP-

BAND® Specialist” by using their locator tool. By way of example, on November 29, 2014,

lapband.com stated:




       343.     The chart below summarizes some iterations of Defendants’ requirements for

inclusion on the physician locator as found on www.lapband.com:

  Date of Public
                     Summary Description of Inclusion Criteria on lapband.com
     Website
     Version
 From at least No listing of criteria identified publicly
 2012 to March
 9, 2015
 March 9, 2015        “This list was created to support persons who want to learn more about the
                      LAP-BAND® procedure by helping connect them to surgeons who
                      currently have demonstrated qualifications and interest in providing good
                      quality care using the LAP-BAND® system. The criteria for inclusion
                      includes: (1) have recently completed all necessary training needed to
                      perform a laparoscopic adjustable gastric banding produces using the LAP-
                      BAND®; (2) have performed a minimum number of surgeries using the
                      LAP-BAND® over the last 12 months; and/or (3) have expressed a strong
                      interest in educating and assisting patients regarding LAP-BAND®
                      procedures. The surgeons on this list pay no fee for inclusion. Some surgeons
                      on this list may be parties in a co-marketing agreement with the company or
                      otherwise provide services to the company from time-to-time. All surgeons
                      on this list have completed the FDA-mandated training on the safe and
                      effective use of the LAP-BAND®.”
 July 7, 2015         “This list was created to support persons who want to learn more about the
                      LAP-BAND® procedure by helping connect them to surgeons who
                      currently have demonstrated qualifications and interest in providing good
                      quality care using the LAP-BAND® system. The criteria for inclusion are:
                      (1) have demonstrated a strong interest in education and assisting patients
                      regarding LAP-BAND® and completed a LAP-BAND® training course
                      over the last 6 months; or (2) have performed twenty or more surgeries using
                      the LAP-BAND® over the last 12 months.



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                The surgeons on this list pay no fee for inclusion. Some surgeons on this list
                may purchase products from the company, provide consulting services to the
                company, and/or may be a party to a co-marketing agreement with Apollo.
                All surgeons on this list have completed the FDA-mandated training on the
                safe and effective use of the LAP-BAND®.”
September 22,   “This list was created to support persons who want to learn more about the
2016            LAP-BAND™ procedure by helping connect them to surgeons who
                currently have demonstrated qualifications and interest in providing good
                quality care using the LAP-BAND™ system. The criteria for inclusion are:
                (1) have demonstrated a strong interest in education and assisting patients
                regarding LAP-BAND™ and completed a LAP-BAND® training course in
                the last 6 months; or (2) have performed twenty or more surgeries using the
                LAP-BAND™ over the last 12 months.

                The surgeons on this list pay no fee for inclusion. Some surgeons on this list
                may purchase products from the company, provide consulting services to the
                company, and/or may be a party to a co-marketing agreement with Apollo.
                All surgeons on this list have completed the FDA-mandated training on the
                safe and effective use of the LAP-BAND™.”
October 19,     “This list was created to support persons who want to learn more about the
2017            LAP-BAND® procedure by helping connect them to surgeons who
                currently have demonstrated qualifications and interest in providing good
                quality care using the LAP-BAND® system. The criteria for inclusion are:

                (1) has completed a LAP-BAND® training course; or
                (2) is affiliated with a facility that has performed 15 or more surgeries using
                the LAP-BAND® over the last 12 months.

                Premier Practice: Physician is affiliated with a facility or practice that has
                performed 30 or more surgeries using LAP-BAND in the last 12 months.

                …

                The surgeons on this list pay no fee for inclusion. Some surgeons on this list
                may purchase products from the company, provide consulting services to the
                company, and/or may be a party to a co-marketing agreement with Apollo.
                All surgeons on this list have completed the FDA-mandated training on the
                safe and effective use of the LAP-BAND®.”
June 20, 2018   “This list was created to support persons who want to learn more about the
                LAP-BAND® procedure by helping connect them to surgeons who
                currently have demonstrated qualifications and interest in providing good
                quality care using the LAP-BAND® system. The criteria for inclusion are:
                (1) has completed a LAP-BAND® training course; or (2) is affiliated with a


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                       facility that has performed 15 or more surgeries using the LAP-BAND®
                       over the last 12 months.

                       Premier Practice: Physician is affiliated with a facility or practice that has
                       performed 30 or more surgeries using LAP-BAND® in the last 12 months.

                       …

                       The surgeons on this list pay no fee for inclusion. Some surgeons on this list
                       may purchase products from the company, provide consulting services to the
                       company, and/or may be a party to a co-marketing agreement with Apollo.”

       344.   Of course, this valuable internet marketing represents remuneration irrespective of

its tie to the volume of LAP-BAND® procedures.

       345.   Defendant Apollo continued Allergan’s practice of manipulating the referral

database of physicians.

       346.   In fact, on or about July 31, 2015, when a search was conducted using Apollo’s

physician locator by entering the zip code of Dr. Fitzer’s medical office in Reston, Virginia

(20166), the search indicated that there were no LAP-BAND® Specialists in a 50-mile radius of

20166 and that the nearest LAP-BAND® care provider was some 53 miles away in Baltimore: Dr.

Vivek Kumbhari. A snapshot of Dr. Kumbhari’s www.lapband.com listing as of July 31, 2015,

appeared as follows:




                                                  58
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       347.   Dr. Kumbhari, however, is a gastroenterologist—a non-surgeon physician. 17

       348.   While Defendant Apollo had no appropriate medical reason to justify the promotion

of Dr. Kumbhari since he does not perform surgery and did not meet their advertised criteria,

Defendant Apollo had a financial incentive to do so. This was at least one instance where Apollo

went beyond promoting the LAP-BAND® device itself on www.lapband.com.

       349.   While he is not qualified to do surgery, Dr. Kumbhari does do transoral flexible

endoscopy (endoscopy).     He used endoscopy to perform a then- experimental weight-loss

procedure called the endoscopic sleeve gastroplasty (ESG).

       350.   Also, he would very soon offer Defendant Apollo’s Orbera balloon. The Orbera

was approved by the FDA in the weeks after Dr. Kumbhari’s inexplicable debut on the

www.lapband.com locator.




17
 While it is unknown whether Dr. Kumbhari was at John Hopkins while Allergan was owner of
www.lapband.com, Dr. Kumbhari was not a surgeon.


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       351.    Defendant Apollo was the only vendor that sold the equipment necessary to

perform ESG, specifically the Overstitch™ device, and they owned the Orbera.

       352.    At the time of this search result, Dr. Kumbhari was one of the only East Coast’s

only practitioners of the ESG, and within a few weeks, he became one of the only practitioners of

the Orbera.

       353.    There was no other locator at the time that Dr. Kumbhari would have qualified for.

Thus, placing Dr. Kumbhari on the www.lapband.com locator could not have been mistaken for a

listing intended for any other website, it was intentional.

       354.    Apollo had not expanded the criteria for inclusion on the physician locator at the

time Dr. Kumbhari, a non-surgeon, was listed on the locator.

       355.    In fact, Dr. Kumbhari’s inclusion was in direct contravention of the inclusion

criteria provided for on Apollo’s website at the time Dr. Kumbhari was listed, which said:

       This list was created to support persons who want to learn more about the LAP-
       BAND® procedure by helping connect them to surgeons who currently have
       demonstrated qualifications and interest in providing good quality care using the
       LAP-BAND® system. The criteria for inclusion are: (1) have demonstrated a
       strong interest in education and assisting patients regarding LAP-BAND® and
       completed a LAP-BAND® training course over the last 6 months; or (2) have
       performed twenty or more surgeries using the LAP-BAND® over the last 12
       months.

       356.    Further, Dr. Fitzer was professionally acquainted with Dr. Kumbhari at the time the

listing appeared, and it was clear both from Dr. Fitzer’s personal knowledge and Dr. Kumbhari’s

published credentials that Dr. Kumbhari was unqualified to perform LAP-BAND® implantation

or any other kind of surgery. Meanwhile, of course, many qualified surgeons were not included on

the LAP-BAND® locator, including Dr. Fitzer.

       357.    As alleged, Defendant Apollo continued to use www.lapband.com to facilitate

unlawful inducements following its acquisition of Allergan’s obesity intervention division.



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        358.   Neither Allergan nor Apollo is an independent credentialing authority. Both are

medical device manufacturers. It is unclear who or what would give Defendants the authority to

certify select surgeons as “Specialists.” The designations of physicians as “Specialists” or “Premier

Practice” on a website maintained by the manufacturer were a marketing phenomenon. Those

designations were useful to surgeons, and they reflect another bit of remuneration offered to

physicians to incentivize recommending LAP-BAND® related services and products.

VIII) DEFENDANTS’ INDUCEMENTS WERE ILLEGAL AND CAUSED SUBMISSION
      OF FALSE OR FRAUDULENT CLAIMS.

        359.   Defendants provided surgeons with access to their website, free marketing, free

publicity, and free patient referrals through their physician locator. In return, they required product

loyalty.

        360.   Compared to other general surgery subspecialties, bariatric surgery practices are far

more dependent on marketing and outreach to attract the patient interest necessary to stay viable.

Marketing is essential and it is commonplace even for small bariatric practices to spend tens or

hundreds of thousands of dollars annually on marketing.

        361.   Access to the services provided free by Defendants saved participating surgeons

substantial money and provided surgeons with independent value because it allowed them to

forego or reduce their own online advertising.

        362.   Defendants knowingly conditioned access to these benefits on a business

consideration, namely that surgeons would perform LAP-BAND® procedures, in exchange for

those benefits, as opposed to other bariatric procedures irrespective of the best interests of the

patients.




                                                  61
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          363.   At least one purpose of this access was to induce surgeon referrals, i.e., to cause

surgeons to perform bariatric procedures on patients using the LAP-BAND® product as opposed

to other weight-loss options.

          364.   Several of the providers that Defendants remunerated through their physician

locator at relevant times were simultaneously being reimbursed by Medicare for LAP-BAND®

implantation procedures.

          365.   The CMS Manual System published Billing Requirements for Bariatric Surgery for

Treatment of Morbid Obesity.          It defined the code—specifically the Healthcare Common

Procedure Coding System (HCPCS) code—that Medicare recognized for adjustable gastric band

surgery claims:

          For services on or after February 21, 2006, the following HCPCS codes apply for
          bariatric services:

          • 43770 Laparoscopy, surgical, gastric restrictive procedure; placement of
          adjustable gastric band (gastric band and subcutaneous port components).

          366.   The submission of a Medicare claim containing code 43770, therefore, necessarily

means that an adjustable gastric band procedure was performed, which means that at least one unit

of either (1) the LAP-BAND® device or (2) the Realize® device was used during the operation.

          367.   Since at least 2012, CMS has published provider usage data for beneficiaries

enrolled in Medicare. 18 Today, this CMS data is available in the form of “a searchable database

that allows you to look up a provider by National Provider Identifier (NPI), or by name and

location. The look-up tool will return information on services and procedures provided to

beneficiaries enrolled in Original Medicare (fee-for-service), including use information, Medicare




18
     When Dr. Fitzer initially reviewed the data, it was in the form of a downloadable data set.


                                                  62
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payment amounts, and submitted charges organized by Healthcare Common Procedure Coding

System (HCPCS) code.” 19

       368.    The data covers a calendar year and contains “100% final-action physician/supplier

Part B non-institutional line items for the Medicare fee-for service (FFS) population[.]” The data

is populated from the Medicare physician and other practitioners. 20

       369.    Claims are reported based on the calendar year the service was rendered. This fact

was confirmed for Relator directly by CMS. For example, if a Part B provider performed a service

on December 25, 2020, and submitted the claim on January 5, 2021, the claim would be assigned

to the 2020 CMS data set because the service rendered was in 2020.

       370.    The two tables below provide a sample of providers who used the LAP-BAND®

device when performing adjustable gastric banding procedures (code 43770) for which they were

ultimately reimbursed by Medicare (the reimbursement amounts below do not include the actual

cost of the LAP-BAND® device).

       371.    Dr. Fitzer has personal knowledge from his investigations (explained further

below) that the physicians below exclusively performed LAP-BAND® gastric-band surgeries and

had listings on Defendants’ physician locator tool in 2013. The following table includes Medicare

paid claims with dates of service in 2013: 21




19
       https://data.cms.gov/tools/medicare-physician-other-practitioner-look-up-tool; see also
https://www.cms.gov/newsroom/data.
20
   Id.
21
   Physicians in these two tables were not qualified (meaning they did not have the requisite
certification as described in paragraph 306) to perform the one alternative device, the Realize®
device, which was available for use in adjustable gastric banding. Their claims represent claims
for LAP-BAND® surgery.


                                                63
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                                                                                 AVERAGE_M 26




                                                                                                             AVERAGE_ME
                                                     LINE_SRVC_C




                                                                                                AVERAGE_SU
                                                                                                BMITTED_CH
                                                                                 LOWED_AMT
                                                     BENE_UNIQU




                                                                                                             MENT_AMT 28
                                                                                 EDICARE_AL




                                                                                                             DICARE_PAY
                                                                   BENE_DAY_S
                                                                    RVC_CNT 25




                                                                                                 RG_AMT 27
                          Credentials

                                        State Code
Identifier




                                                        E_CNT 24
Provider
National



             Name 22




                                                          NT 23
 117456      JOHN         MD            AL            29     29         29         $495.51      $3,327.59     $392.81
 6996        GROVES
 126547      STEPHEN      MD            AL            28     28         28         $664.38      $3,714.29     $519.00
 5909        BRITT
 118462      GREGG        MD            MO            24     24         24        $1098.24      $4,545.78     $865.88
 8885        GINSBURG
 180187      FREDERIC     MD            IL            36     36         36        $1296.11      $3,865.00     $994.39
 5679        K
             TIESENGA
 160986      JEFFREY      MD            NE            31     29         29         $668.39      $2,845.16     $524.10
 0196        HOLLOWA
             Y
 121503      KEVIN        PA-           NC            19     19         19           $72.05      $657.00       $56.79
 5779        MARTIN       C
 182119      JOHN         MD            NC            22     22         22         $513.40      $3,180.48     $404.43
 7609        JOHNSON
 106340      PANDURA      MD            FL            35     35         35         $634.96      $1,539.69     $499.03
 4028        NGAN



22
   Out of an abundance of caution, Relator removed Keith McEwen from Tables 1 and 2 after
uncovering a lone piece of information that suggested the possibility that, at some point Dr.
McEwen may have been Realize® band qualified even if he did not perform the procedure.
23
   Number of services provided. CMS, CMS Medicare Fee-For-Service Provider Utilization &
Payment Data Physician and Other Supplier Public Use File: A Methodological Overview, at p.
6, available at https://www.cms.gov/Research-Statistics-Data-and-Systems/Statistics-Trends-and-
Reports/Medicare-Provider-Charge-Data/Downloads/Medicare-Physician-and-Other-Supplier-
PUF-Methodology.pdf (last visited May 10, 2021).
24
   Number of distinct Medicare beneficiaries receiving the service. Id. at p. 7.
25
   Number of distinct Medicare beneficiary/per day services. Id. at p. 7.
26
   Average of the Medicare allowed amount for the service; this figure is the sum of the amount
Medicare pays, the deductible and coinsurance amounts that the beneficiary is responsible for
paying, and any amounts that a third party is responsible for paying. Id. at p. 7.
27
   Average of the charges that the provider submitted for the service. Id. at p. 7.
28
   Average amount that Medicare paid after deductible and coinsurance amounts have been
deducted for the line item service. Id. at p. 7.


                                                           64
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           KRISHNAR
           AJ
 102305    DAVID           MD    MT       21     21      21   $1086.22    $1,140.53     $847.84
 4640      ROHRER
 168967    AHMAD           MD    WV       26     26      26   $1074.26    $5,000.00     $848.17
 0069      BALI
 161905    JOHN            MD    OH       19     19      19     $64.58     $134.39       $50.67
 9334      MOBLEY
 114428    CARLOS          MD    TX       11     11      11    $124.33     $10,000       $97.47
 1445      GODINEZ
 122505    JOSEPH          MD    TX       27     26      27    $633.21     $10,000      $497.70
 7680      WRIGHT
 156848    GERARDO         M.    TX       11     11      11    $825.68     $10,000      $647.92
 4327      CARCAMO         D
 101391    JOHN            MD    KY       34     34      34    $393.55    $2,647.06     $310.21
 9273      OLSOFKA
 150886    VINCENT         MD    KY       36     36      36    $244.50    $2,600.00     $171.94
 8753      LUSCO
 117458    MARK            MD    TX       17     17      17   $1084.85    $4,500.00     $856.31
 1813      WATSON

       372.   Dr. Fitzer has personal knowledge from his investigations that the physicians below

exclusively performed LAP-BAND® surgeries and had listings on Defendants’ physician locator

tool in 2014. The following table includes Medicare paid claims with dates of service in 2014:




                                               65
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                                                                                                      AVERAGE_ME




                                                                                                                                AVERAGE_ME
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                                                                                                                   AVERAGE_SU
                                                                                                                   BMITTED_CH
                                                                            BENE_UNIQU




                                                                                                      DICARE_ALL




                                                                                                                                DICARE_PAY
                                                                                         BENE_DAY_S




                                                                                                       OWED_AMT




                                                                                                                                 MENT_AMT
                                   Credentials
Identifier 29




                                                                                          RVC_CNT
                                                 State Code




                                                                                                                     RG_AMT
 Provider
 National




                                                                              E_CNT
                Name




                                                                   NT
 168967         AHMAD BALI          MD           WV 28                      28           28            $1089.17      $5000       $849.79
   0069
 126547         STEPHEN             MD           AL           28            28           28            $469.60     $3214.29      $367.37
   5909         BRITT
 118462         GREGG               MD           MO           35            35           35            $1085.87    $4485.22      $844.24
   8885         GINSBURG
 117456         JOHN GROVES         MD           AL           28            28           28            $751.90     $3857.14      $589.36
   6996
 160986         JEFFREY             MD           NE           29            29           29            $702.87       $3000       $524.39
   0196         HOLLOWAY
 106340         PANDURANGA          MD           FL           15            15           15            $480.94     $1907.83      $377.06
   4028         N KRISHNARAJ
 150886         VINCENT             MD           KY           20            20           20            $267.91     $2999.99      $210.04
   8753         LUSCO
 161905         JOHN MOBLEY         MD           OH           33            33           33            $975.18       $2389       $738.27
   9334
 101391         JOHN                MD           KY           20            20           20            $379.53     $3000.00      $297.55
   9273         OLSOFKA
 102305         DAVID               MD           MT           19            19           19            $1007.96    $1242.85      $790.24
   4640         ROHRER
 180187         FREDERICK           MD           IL           34            33           33            $1287.08    $3786.77      $1009.07
   5679         TIESENGA
 117458         MARK                MD           TX           11            11           11            $1076.00      $4500       $843.58
   1813         WATSON
 122505         JOSEPH              MD           TX           11            11           11            $565.96      $10000       $433.24
   7680         WRIGHT


                373.   Dr. Fitzer identified the providers in the two tables above were not Realize® band

   qualified (and therefore could not have implanted a Realize® band) through a process of

   elimination. Specifically, in or about March of 2013 and again in November of 2014, Dr. Fitzer




   29
        The definitions provided in Table 1, footnotes 23-28, equally apply to Table 2.


                                                                        66
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compiled a list of all self-reported gastric-band surgeons from the American Society of Metabolic

and Bariatric Surgeons (“ASMBS”). 30

        374.     Next, he determined which of those surgeons had listings on www.lapband.com by

searching the LAP-BAND® locator for each name.

        375.     From this list of surgeons, he proceeded to eliminate those who were Realize® band

certified. He did this by first confirming whether the surgeons appeared on the Realize® locator.

        376.     By studying whether the many bariatric surgeons of his acquaintances had

Realize® locator listings, Dr. Fitzer learned that when a surgeon lacked a Realize® locator listing,

it very reliably indicated that they did not have Realize® certification.

        377.     Dr. Fitzer thus eliminated about half his list.

        378.     If Dr. Fitzer did not find the LAP-BAND® Specialist on www.realize.com he

subsequently located the provider’s professional website, online profiles, and listings on

obesityhelp.com and bariatricpal.com. On these sites, it was common practice for bariatric

surgeons to provide their accreditation status, including whether they had a Realize® band

certification. Dr. Fitzer removed any surgeon for whom he could find evidence of Realize® band

certification.

        379.     In fact, in the course of researching Realize® certifications, Dr. Fitzer found that

some of the Medicare-claimant surgeons explicitly held themselves out as users only of the LAP-




30
   In verifying that all the above claims relate to LAP-BAND® procedures, it is worth noting that
the LAP-BAND® device consistently held greater market share as compared to the Realize®
device. As of 2010, LAP-BAND® had about 70% of the market share leaving only 30% to the
Realize® device. By 2013, it was estimated that LAP-BAND® had about 90% of the market share.
See https://www.generalsurgerynews.com/Opinion/Article/10-13/Bariatric-Procedures-Decline-
Despite-Rise-in-Obesity-and-Diabetes/24135;
https://www.nytimes.com/2010/12/02/business/02obese.html.



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BAND® device. Dr. Fitzer removed all surgeons from his list that stated they were Realize® band

certified on any of these sites.

        380.    When the Part B Medicare utilization data was released, Dr. Fitzer cross-referenced

the list of surgeons against it to identify those who submitted Medicare claims for services in that

year.

        381.    In 2016, Ethicon discontinued the sale of the Realize® device.

        382.    Dr. Vito Bagnato, another surgeon, had a listing on www.lapband.com at least in

2014 and 2017, which Dr. Fitzer observed.            Dr. Bagnato submitted claims for Medicare

reimbursement for code 43770 with for dates of service in 2017, for which he was ultimately

reimbursed. Specifically, for dates of service in 2017, Dr. Bagnato was reimbursed for services

related to 12 LAP-BAND® device implantations. These occurred after the Realize® device was

discontinued; therefore, the following claims can only reflect surgeries for the implantation of the

LAP-BAND® device:




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                                                                                       Day_Srvcs 33



                                                                                                      Medicare_A
                                                         Tot_Benes 31




                                                                                                                   Medicare_P
                                                                        Tot_Srvcs 32




                                                                                                                   ayment_am
                                                                                                                   Submitted_
                                                                                                      llowed_amt
                              Credentials




                                                                                                        Average_



                                                                                                                      Average_


                                                                                                                      Average_
                                            State Code




                                                                                       Tot_Bene_




                                                                                                                   Ch A t
 Identifier
 Provider
  National



              Name




                                                                                                      34




                                                                                                                   35



                                                                                                                   36
 150885 Bagnato               M             G                      12             12        12        $1058.29     $800   $834.3
   3219 Vito                  D             A                                                                        0      2


        383.         The pressure caused by Defendants’ free marketing and quota system impaired

surgeons’ ability to give bias-free information to patients about the procedure that is most

medically appropriate for them. Defendants’ illegal scheme corrupted the physician/patient

relationship.

        384.         Further, the sales quota also “impose[d] a condition on the manner” in which the

surgeon provided the services: The numerical condition put pressure on surgeons to increase sales

in exchange for website listings. This pushed physicians to advise patients to undergo the LAP-

BAND® procedures more frequently and order more LAP-BAND® devices than they otherwise

would. See 42 C.F.R. § 1001.952(f)(3). Surgeons lacked incentive to learn alternative procedures

given this arrangement.

        385.         During the time Defendants implemented the quota, many LAP-BAND®

“Specialists” significantly increased Medicare-reimbursed LAP-BAND® device implantations.



31
   This means “[n]umber of distinct Medicare beneficiaries receiving the service for each
Rndrng_NPI, HCPCS_Cd, and Place_Of_Srvc.” See https://data.cms.gov/resources/medicare-
physician-other-practitioners-by-provider-and-service-data-dictionary
32
   This refers to the number of services provided. Id.
33
   This refers to the number of distinct Medicare beneficiary/per day services. Id.
34
   This refers to the “[a]verage of the Medicare allowed amount for the service; this figure is the
sum of the amount Medicare pays, the deductible and coinsurance amounts that the beneficiary is
responsible for paying, and any amounts that a third party is responsible for paying.”
35
   This refers to the “[a]verage of the charges that the provider submitted for the service. Id.
36
   This refers to the “[a]verage amount that Medicare paid after deductible and coinsurance
amounts have been deducted for the line item service.” Id.


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       386.    By way of example, the following surgeons were listed on the www.lapband.com

as a “Specialist” and implanted the following number of LAP-BAND® devices (code 43770) in

2012 and 2013:




                                                                         Bands



                                                                                   Bands
                                                                 State


                                                                         Lap-



                                                                                   Lap-
                                                                          2012



                                                                                    2013
                                 Last 37




                                                       First
                 NPI




      1609860196       HOLLOWAY            JEFFREY             NE         23          31
      1063404028       KRISHNARAJ          PANDURANGAN         FL         15          35
      1801875679       TIESENGA            FREDERICK           IL         16          36
      1225057680       WRIGHT              JOSEPH              TX         18          27

       387.    While LAP-BAND® device sales deteriorated nationally, as illustrated above,

some Specialists implanted more LAP-BAND® devices, in some cases more than doubling the

number of Medicare-reimbursed LAP-BAND® device implants during the quota.

       388.    Another surgeon who had a listing on the locator in 2012 and 2013 and who also

submitted claims to Medicare for implantation of a gastric-band device (code 43770) in 2012 and

2013, was Richard Dicicco. Dr. Fitzer specifically observed Dr. Dicicco’s profile on the LAP-

BAND® locator as early as 2011. While Dicicco was Realize® band certified (unlike the surgeons

in the chart above), Dicicco told Dr. Fitzer personally that he had only ever implanted about 10

Realize® bands total in his entire career, as LAP-BAND® was his preferred band choice. In 2012,

Dr. Dicicco implanted and received payment for 26 gastric-bands and 31 gastric-bands in 2013,

totaling 57 gastric-band. As his total Medicare claims (57) exceed ten (his total ever Realize®

bands irrespective of payor), at least 47 of his Medicare claims during that year were for the LAP-

BAND® device. Furthermore, these claims were all for Medicare gastric-bands (as opposed to




37
  Relator removed James Atkinson from the Chart as initially provided in the Third Amended
Complaint, as he was not previously listed in the tables above.


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private insurance), and thus only reflect a small portion of the LAP-BAND® implants that he

performed.

       389.    Until at least around March of 2015, Defendants did not disclose to website visitors

the terms of participation for any of the listed surgeons, nor did they follow the requirements for

disclosure of a referral service to the potential patients. See 42 C.F.R. § 1001.952(f)(4).

       390.    Defendants’ quota related to quantity rather than quality of work, which is best

illustrated by the fact that Defendants excluded physicians, like Dr. Fitzer, from the locator who

were otherwise qualified and authorized to perform LAP-BAND® procedures.

       391.    Defendants’ website access and free marketing, granted or withheld, especially

inclusion on the physician locator, provided substantial value to surgeons and qualifies as a

kickback scheme, which was nationwide in scope, and as unlawful referrals in violation of the

Anti-Kickback Statute.

       392.    In addition, there are numerous state laws and regulations that prohibit kickbacks

in medical coverage and health care plans. See, e.g., Texas Medicaid Fraud Prevention Act, Tex.

Hum. Res. Code Ann. § 36.001, et seq.

       393.    Defendants did not comply with the requirements for a referral service to qualify

under the safe-harbor provisions of the Anti-Kickback Statute, and adherence to each requirement

is necessary to qualify for the safe-harbor exception.

       394.    Defendants knew or should have known that surgeons in their physician locator

performed LAP-BAND® procedures for patients enrolled in federal programs, such as Medicare

or Medicaid.

       395.    Defendants knew or should have known that these programs required surgeons to

certify compliance with federal laws, such as the Anti-Kickback Statute.




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         396.   Compliance with the Anti-Kickback Statute is a material condition of payment

under federal health programs. United States ex rel. Nevyas v. Allergan, Inc., No. 2:09-cv-0043-

MAK, 2015 WL 3429381, at *2 (E.D. Pa. May 26, 2015) (denying Defendant’s motion to dismiss

Relator’s False Claims Act claim in case where Relator alleged Allergan caused to be presented

claims tainted by scheme to induce physicians to write prescriptions for Allergan products by

providing them illegal remuneration); see also Second Amended Complaint at 3-4, Nevyas, No.

2:09-cv-0043-MAK (explaining that illegal financial inducements included, but were not limited

to, access to state-of-the-art website for an annual fee below fair-market-value).

         397.   Defendants “caused to be presented” to the United States and the listed states claims

tainted by Defendants’ scheme to induce surgeons to implant their medical devices by providing

surgeons remuneration in violation of the Anti-Kickback Statute, making such claims “false or

fraudulent’ which Defendants knew to be “false or fraudulent.” See id. at 2.

         398.   The data and information described herein demonstrates a pattern of conduct that

necessarily led to the submission of false claims in addition to the specific false claims cited above.

         399.   In addition to the unlawful kick-back scheme, the Plaintiff-Relator also reviewed

advertising material produced on the Defendants’ website and in other media and found numerous

misleading and false statements directed at consumers.

         400.   Those statements, which pertained to important safety topics like reoperation data,

total complications, long-term effect of the device on other medical conditions, and reversal rates,

were used to promote the medical device. While some were merely misleading, many were wholly

false.




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          401.   Defendants’ false statements induced people to use the LAP-BAND® and the

governments of the United States and the above listed states to pay claims for these devices and

the associated surgeries.

           VIOLATIONS OF THE FEDERAL AND STATE FALSE CLAIMS ACTS

                                          COUNT ONE
                              Violations of 31 U.S.C. § 3729(a)(1)(A)
                              Presenting False Claims for Payment

          402.   The allegations contained in the above paragraphs are hereby re-alleged and set

forth fully as above.

          403.   This is a claim for treble damages and civil penalties under the Federal False Claims

Act, 31 U.S.C. § 3729(a)(1)(A).

          404.   As set forth above, the Defendants knowingly caused to be presented, false or

fraudulent claims for payment or approval to the United States government in connection with the

sale of their LAP-BAND® medical device.

          405.   The FCA defines a “claim” as “any request or demand…for money or property”

that “is presented to an officer, employee, or agent of the United States.” 31 U.S.C. § 3729(b)(2).

          406.   The FCA defines “knowing” and “knowingly” to mean that a person has “actual

knowledge of the information,” “acts in deliberate ignorance of the truth or falsity of the

information,” or “acts in reckless disregard of the truth or falsity of the information.” 31 U.S.C. §

3729(b)(1).

          407.   Defendants conducted an unlawful kickback scheme by providing surgeons with

illegal    remuneration,    including   valuable    free   advertising   on   Defendants’    website,

www.lapband.com, in order to induce surgeons to recommend Defendants’ LAP-BAND® medical

device instead of alternative operations.




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       408.    Defendants favored LAP-BAND® only surgeons and company officials

specifically told Relator he had been removed from the site, because he did not meet Defendants’

requirement to perform forty (40) implants of the device in a year.

       409.    Such false claims were made to and/or paid by United States government programs

including, but not limited to Medicare/Medicaid, Tri-Care, and the Veterans Administration.

       410.    Defendants’ scheme to induce surgeons to use the LAP-BAND® product over other

alternatives by providing those surgeons remuneration in violation of the Anti-Kickback renders

such claims “false or fraudulent.”

       411.    These actions are in violation of the Anti-Kickback Statute, which confers direct

liability under the False Claims Act.

       412.    Furthermore, Defendants’ pressure on bariatric surgeons undermined the

physicians’ ability to fully inform patients about other treatments available for obesity.

       413.    Such actions undermine the informed consent process, which is not only a central

requirement of medical ethics, but also a required condition of participation under Medicare as

well as other government medical programs.

       414.    Undermining the informed consent process creates additional liability for false

claims under the Act, because any claim for payment to a government agency involving a LAP-

BAND® procedure is made with the implied and or express certification that a true informed

consent process was conducted.

       415.    As a result of the Defendants’ fraudulent and or illegal conduct, the United States

has directly or indirectly paid numerous false claims.




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        416.   Damages to the United States include, but are not limited to, the full amount it has

paid on any such false claims and any related claims for treatment of LAP-BAND® related health

services.

        417.   Defendants are liable to the United States for three times the full amount of these

damages to be determined at trial.

        418.   Each and every such false claim is also subject to a civil fine under the False Claims

Act of Five Thousand, Five Hundred Dollars ($5,500.00) to Eleven Thousand Dollars

($11,000.00), plus any increase as specified under the Federal Civil Penalties Adjustment Act of

1990.

                                        COUNT TWO
                            Violations of 31 U.S.C. § 3729(a)(1)(B)
                       Use of False Statements and False Certifications

        419.   The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

        420.   This is a claim for treble damages and civil penalties under the Federal False Claims

Act, 31 U.S.C. § 3729(a)(1)(B).

        421.   As set forth above, Defendants knowingly made, and or caused to be made, false

statements and false records in order to obtain payment for LAP-BAND® medical devices and

related services, and those false statements were material to the United States government’s

decision to pay.

        422.   Pressure by Defendants on surgeons to conduct more procedures using its product

undermined the informed consent process. Therefore, the documents that attest to patients granting

such informed consent are false records.

        423.   In addition, bills submitted to Medicare and other government programs for LAP-

BAND® related services, which state or imply that the charges were made in conformity with


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federal law, including but not limited to, the Anti-Kickback Statute and CMS regulations, are

materially false statements.

       424.    As a result of Defendants’ fraudulent and/or illegal conduct, the United States has

directly or indirectly paid numerous false claims.

       425.    Damages to the United States include but are not limited to the full amount it has

paid on any such false claims.

       426.    Defendants are liable to the United States for three times the full amount of these

damages.

       427.    Each and every such false statement or record is also subject to a civil fine under

the False Claims Act of Five Thousand Five Hundred Dollars ($5,500.00) to Eleven Thousand

Dollars ($11,000.00), plus any increase as specified by the Federal Civil Penalties Adjustment Act

of 1990.

                                        COUNT THREE
                          Violations of Cal. Gov’t Code § 12650, et seq.
                                The California False Claims Act

       428.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       429.    This is a claim for treble damages and civil penalties under the California False

Claims Act, Cal. Gov’t Code § 12650, et seq.

       430.    Under the California False Claims Act, the Defendants are liable for any false claim

when California or a political subdivision provides any portion of the funds.            “Political

subdivision” includes any city, city and county, county tax or assessment district or other legally

authorized local entity with jurisdictional boundaries.

       431.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to the State of


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California’s Medicaid program (“Medi-Cal”), and to other programs funded by California as well

as to programs funded by political subdivisions of California.

       432.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       433.    The State of California’s Medicaid program and any additional program funded by

California or funded by any political subdivision of California were unaware of the falsity or

fraudulent nature of the claims. Such claims otherwise would not have been paid or allowed.

       434.    By reason of these payments the State of California and its political subdivisions

have been damaged and continue to be damaged in a substantial amount to be determined at trial.

                                       COUNT FOUR
                      Violations of Colo. Rev. Stat. § 25.5-4-303.5, et seq.
                          The Colorado Medicaid False Claims Act

       435.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       436.    This is an action for treble damages and civil penalties for violations of the

Colorado Medicaid False Claims Act, Colo. Rev. Stat. §25.5-4-303.5, et seq.

       437.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to the State of

Colorado for payment under the Colorado Medical Assistance Act.

       438.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       439.    The State of Colorado’s Medicaid program and any program paying under the

Colorado Medical Assistance Act were unaware of the falsity or fraudulent nature of these claims.

Such claims otherwise would not have been paid or allowed.




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       440.    By reason of these payments the State of Colorado has been damaged and continues

to be damaged.

                                        COUNT FIVE
                         Violations of Conn. Gen. Stat. § 4-274, et seq.
                              The Connecticut False Claims Act

       441.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       442.    This is an action for treble damages and civil penalties for violations of the

Connecticut False Claims Act, Conn. Gen. Stat. § 4-274, et seq.

       443.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to medical

assistance programs funded by the State.

       444.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       445.    The State of Connecticut’s medical assistance programs were unaware of the falsity

or fraudulent nature of these claims. Such claims otherwise would not have been paid or allowed.

       446.    By reason of these payments the State of Connecticut has been damaged and

continues to be damaged in a substantial amount to be determined at trial.

                                         COUNT SIX
                       Violations of Del. Code Ann. tit. 6, § 1201, et seq.
                       The Delaware False Claims and Reporting Act

       447.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       448.    This is an action for treble damages and civil penalties for violations of Section

1201(a) of the Delaware False Claims and Reporting Act, Del. Code Ann. tit. 6, § 1201, et seq.




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       449.    Under the Delaware False Claims and Reporting Act, the Defendants are liable for

any false claims when the Government of Delaware provides any portion of the funds.

“Government” includes all departments, boards or commissions of the executive branch of the

State, all political subdivisions of the State, the Delaware Department of Transportation, all state

and municipal authorities, all organizations created by or pursuant to a statute which declares in

substance that such organization performs or has for its purpose the performance of an essential

governmental function, and all organizations, entities or persons receiving funds of the State where

the act complained of pursuant to this chapter relates to the use of such funds of the State.

       450.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to Delaware’s

Medicaid program and other programs funded by the “Government” as “Government” is defined

under the Delaware False Claims and Reporting Act.

       451.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       452.    The State of Delaware’s Medicaid program and any additional program funded by

the “Government” were unaware of the falsity or fraudulent nature of these claims. Such claims

otherwise would not have been paid or allowed.

       453.    By reason of these payments the State of Delaware has been damaged and continues

to be damaged in a substantial amount to be determined at trial.

                                        COUNT SEVEN
                            Violations of DC Code, § 2-381.01, et seq.
                           The District of Columbia False Claims Act

       454.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.




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       455.    This is an action for treble damages and civil penalties for violations of the District

of Columbia False Claims Act, DC Code § 2-381.01, et seq.

       456.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to the District of

Columbia’s Medicaid program and to other programs funded by the District of Columbia.

       457.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       458.    The District of Columbia’s Medicaid program and any additional program funded

by the District of Columbia were unaware of the falsity or fraudulent nature of these claims. Such

claims otherwise would not have been paid or allowed.

       459.    By reason of these payments the District of Columbia has been damaged and

continues to be damaged in a substantial amount to be determined at trial.

                                        COUNT EIGHT
                          Violations of Fla. Stat. Ann. § 68.081, et seq.
                                 The Florida False Claims Act

       460.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       461.    This is an action for treble damages and civil penalties for violations of the Florida

False Claims Act, Fla. Stat. Ann. § 68.081, et seq.

       462.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to Florida’s

Medicaid program as well to other programs funded by the State of Florida.

       463.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.




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         464.   The State of Florida’s Medicaid program and any additional program funded by the

State of Florida were unaware of the falsity or fraudulent nature of these claims. Such claims

otherwise would not have been paid or allowed.

         465.   By reason of these payments the State of Florida has been damaged and continues

to be damaged in a substantial amount to be determined at trial.

                                        COUNT NINE
                         Violations of Ga. Code Ann. § 49-4-168, et seq.
                           The Georgia False Medicaid Claims Act

         466.   The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

         467.   This is an action for treble damages and civil penalties for violations of the Georgia

False Medicaid Claims Act, Ga. Code Ann. § 49-4-168, et seq.

         468.   Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to Georgia’s

Medicaid program.

         469.   Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

         470.   The State of Georgia’s Medicaid program was unaware of the falsity or fraudulent

nature of these claims. Such claims otherwise would not have been paid or allowed.

         471.   By reason of these payments the State of Georgia has been damaged and continues

to be damaged in a substantial amount to be determined at trial.

                                        COUNT TEN
                       Violations of Haw. Rev. Stat. Ann. § 661-21, et seq.
                                 The Hawaii False Claims Act

472.     The allegations contained in the above paragraphs are hereby re-alleged as set forth fully

above.


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       473.    This is an action for treble damages and civil penalties for violations of the Hawaii

False Claims Act, Haw. Rev. Stat. Ann. § 661-21, et seq.

       474.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to Hawaii’s

Medicaid program and to other programs funded by the State of Hawaii.

       475.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       476.    The State of Hawaii’s Medicaid program and any additional program funded by the

State of Hawaii were unaware of the falsity or fraudulent nature of these claims. Such claims

otherwise would not have been paid or allowed.

       477.    By reason of these payments the State of Hawaii has been damaged and continues

to be damaged in a substantial amount to be determined at trial.

                                      COUNT ELEVEN
                      Violations of 740 Ill. Comp. Stat. Ann. 175/1, et seq.
                                 The Illinois False Claims Act

       478.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       479.    This is an action for treble damages and civil penalties for violations of the Illinois

False Claims Act, 740 Ill. Comp. Stat. Ann. 175/1, et seq.

       480.    Under the Illinois False Claims Act, the Defendants are liable for any false claim

when the State provides any portion of the funds. “State” means the State of Illinois and any

agency of State government, the system of State colleges and universities, any school district,

community college district, county, municipality, municipal corporation, unit of local government,

and any combination of the above under an intergovernmental agreement that includes provisions

for a governing body of the agency created by the government.


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       481.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to Illinois’

Medicaid program and to other programs funded by the “State” as “State” is defined under the

Illinois False Claims Act.

       482.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used a false records or statements.

       483.    The State of Illinois’ Medicaid program and any additional program funded by the

“State” were unaware of the falsity or fraudulent nature of these claims. Such claims otherwise

would not have been paid or allowed.

       484.    By reason of these payments the State of Illinois has been damaged and continues

to be damaged in a substantial amount to be determined at trial.

                                    COUNT TWELVE
                         Violations of Ind. Code § 5-11-5.5, et seq.
                The Indiana False Claims and Whistleblower Protection Act

       485.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       486.    This is an action for treble damages and civil penalties for violations of the Indiana

False Claims Act and Whistleblower Protection Act, Ind. Code § 5-11-5.5, et seq.

       487.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to Indiana’s

Medicaid program and to other programs funded by the State of Indiana.

       488.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.




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       489.    The State of Indiana’s Medicaid program and any additional program funded by

the State of Indiana were unaware of the falsity or fraudulent nature of these claims. Such claims

otherwise would not have been paid or allowed.

       490.    By reason of these payments the State of Indiana has been damaged and continues

to be damaged in a substantial amount to be determined at trial.

                                     COUNT THIRTEEN
                            Violations of Iowa Code § 685.1, et seq.
                                  The Iowa False Claims Act

       491.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       492.    This is an action for treble damages and civil penalties for violations of the Iowa

False Claims Act, Iowa Code § 685.1, et seq.

       493.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to Iowa’s

Medicaid program and other programs funded by the State of Iowa.

       494.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       495.    The State of Iowa’s Medicaid program and other programs funded by the State of

Iowa were unaware of the falsity or fraudulent nature of these claims. Such claims otherwise would

not have been paid or allowed.

       496.    By reason of these payments the State of Iowa has been damaged and continues to

be damaged in a substantial amount to be determined at trial.




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                                    COUNT FOURTEEN
                      Violations of La. Rev. Stat. Ann. § 46.437.1, et seq.
                  The Louisiana Medical Assistance Program Integrity Law

       497.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       498.    This is an action for treble damages and civil penalties for violations of the

Louisiana Medical Assistance Program Integrity Law, La. Rev. Stat. Ann. § 46.437.1, et seq.

       499.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to Louisiana’s

Medicaid program and or its medical assistance programs.

       500.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       501.    The State of Louisiana’s Medicaid program and any medical assistance program

were unaware of the falsity or fraudulent nature of these claims. Such claims would otherwise not

have been paid or allowed.

       502.    By reason of these payments the State of Louisiana has been damaged and

continues to be damaged in a substantial amount to be determined at trial.

                                      COUNT FIFTEEN
                        Violations of Mass. Ann. Laws ch.12, § 5, et seq.
                             The Massachusetts False Claims Act

       503.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       504.    This is an action for treble damages and civil penalties for violations of the

Massachusetts False Claims Act, Mass. Ann. Laws ch. 12, § 5, et seq.

       505.    Under the Massachusetts False Claims Act the Defendants are liable for a false

claim if the Commonwealth of Massachusetts or its “political subdivisions” provides any portion


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of the funds. “Political subdivision” is defined to include any city, town, county or other

governmental entity authorized or created by state law, including public corporations and

authorities.

        506.   Through the use of kickbacks, misrepresentations, and interference with the

informed consent process, Defendants knowingly presented or caused to be presented false claims

to the Commonwealth’s Medicaid program, other programs funded by Massachusetts and

programs funded by political subdivisions of Massachusetts.

        507.   Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

        508.   The Commonwealth of Massachusetts’ Medicaid program, any additional

programs funded by Massachusetts, and any programs funded by political subdivisions of

Massachusetts were unaware of the falsity or fraudulent nature of these claims. Such claims

otherwise would not have been paid or allowed.

        509.   By reason of these payments the Commonwealth of Massachusetts and its political

subdivisions have been damaged and continue to be damaged in a substantial amount to be

determined at trial.

                                        COUNT SIXTEEN
                       Violations of Mich. Comp. Laws. Serv.§ 400.601, et seq.
                             The Michigan Medicaid False Claims Act

        510.   The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

        511.   This is an action for treble damages and civil penalties for violations of the

Michigan Medicaid False Claims Act, Mich. Comp. Laws. Serv.§ 400.601, et seq.




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       512.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to Michigan’s

Medicaid program and or the Michigan Department of Community Health.

       513.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       514.    The State of Michigan’s Medicaid program and the Michigan Department of

Community Health were unaware of the falsity or fraudulent nature of these claims. Such claims

otherwise would not have been paid or allowed.

       515.    By reason of these payments the State of Michigan has been damaged and continues

to be damaged in a substantial amount to be determined at trial.

                                      COUNT SEVENTEEN
                             Violations of Minn. Stat. § 15C.01, et seq.
                                 The Minnesota False Claims Act

       516.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       517.    This is an action for treble damages and civil penalties for violations of the

Minnesota False Claims Act, Minn. Stat. § 15C.01, et seq.

       518.    Under the Minnesota False Claims Act, the Defendants are liable for any false

claims if the State of Minnesota or any political subdivision provides any portion of the funds.

“Political subdivision” means a political subdivision, or a department or agency of a political

subdivision.

       519.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to Minnesota’s

Medicaid program, other programs funded by Minnesota, and programs funded by political

subdivisions of Minnesota.


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       520.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       521.    The State of Minnesota’s Medicaid program, other programs funded by Minnesota,

and programs funded by political subdivisions of Minnesota were unaware of the falsity or

fraudulent nature of these claims. Such claims otherwise would not have been paid or allowed.

       522.    By reason of these payments the State of Minnesota and its political subdivisions

have been damaged and continues to be damaged in a substantial amount to be determined at trial.

                                     COUNT EIGHTEEN
                       Violations of Mont. Code Ann. § 17-8-401, et seq.
                               The Montana False Claims Act

       523.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       524.    This is an action for treble damages and civil penalties for violations of the Montana

False Claims Act, Mont. Code Ann. § 17-8-401, et seq.

       525.    Under the Montana False Claims Act the Defendants are liable for any false claim

if any Montana governmental entity provides a portion of the funds. “Governmental entity” means

the state, any city, town, county school district, tax or assessment district, or other political

subdivision of the state, or a unit of the Montana university system.

       526.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to Montana’s

Medicaid program, other programs funded by the State of Montana, and Montana governmental

entities. Defendants knowingly accomplished these unlawful acts by making, using, or causing to

be used false records or statements.




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       527.     The State of Montana’s Medicaid program, and other programs funded by Montana

or other Montana governmental entities were unaware of the falsity or fraudulent nature of these

claims. Such claims otherwise would not have been paid or allowed.

       528.     By reason of these payments the State of Montana and its governmental entities

have been damaged and continue to be damaged in a substantial amount to be determined at trial.

                                   COUNT NINETEEN
                    Violations of Nev. Rev. Stat. Ann. § 357.010, et seq.
         The Nevada Submission of False Claims to State or Local Government Act

       529.     The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       530.     This is an action for treble damages and civil fines for violations of the Nevada

Submission of False Claims to State or Local Government Act, Nev. Rev. Stat. Ann. § 357.010, et

seq.

       531.     Under the Nevada Submission of False Claims to State or Local Government Act,

the Defendants are liable for false claims if the State of Nevada or a political subdivision provided

any portion of the funds. “Political subdivision” means a county, city, assessment district, or any

other local government as defined by Nev. Rev. Stat. Ann. § 354.474.

       532.     Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendant knowingly presented or caused to be presented false claims to Nevada’s

Medicaid program, other programs funded by Nevada, and programs funded by its political

subdivisions.

       533.     Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used a false records or statements.




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       534.    The State of Nevada’s Medicaid program, other programs funded by Nevada, and

programs funded by its political subdivisions were unaware of the falsity or fraudulent nature of

these claims. Such claims otherwise would not have been paid or allowed.

       535.    By reason of these payments, the State of Nevada and its political subdivisions have

been damaged and continue to be damaged in a substantial amount to be determined at trial.

                                      COUNT TWENTY
                        Violations of N.J. Stat. Ann. § 2A:32C-1, et seq.
                               The New Jersey False Claims Act

       536.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       537.    This is an action for treble damages and civil fines under the New Jersey False

Claims Act, N.J. Stat. Ann. § 2A:32C-1, et seq.

       538.    Under the New Jersey False Claims Act the Defendants are liable for any false

claims made if the State provided any of the funds. “State” means any of the principal departments

in the Executive Branch of State Government; any division, board, bureau, office, commission or

other instrumentality within or created by such department; and any independent State authority,

commission, instrumentality or agency.

       539.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to New Jersey’s

Medicaid program, and other programs funded by the “State” as “State” is defined under the New

Jersey False Claims Act.

       540.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.




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       541.    The State of New Jersey’s Medicaid program and other programs funded by the

“State” were unaware of the falsity or fraudulent nature of these claims. Such claims otherwise

would not have been paid or allowed.

       542.    By reason of these payments the State of New Jersey has been damaged and

continues to be damaged in a substantial amount to be determined at trial.

                                  COUNT TWENTY-ONE
                      Violations of N.M. Stat. Ann. § 27-14-1, et seq. and
                        Violations of N.M. Stat. Ann. § 44-9-1, et seq.
                      The New Mexico Medicaid False Claims Act and
                       The New Mexico Fraud Against Taxpayers Act

       543.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       544.    This is an action for treble damages and civil fines under the New Mexico Medicaid

False Claims Act, N.M. Stat. Ann. § 27-14-1, et seq., and the New Mexico Fraud Against

Taxpayers Act, N.M. Stat. Ann. § 44-9-1, et seq.

       545.    Under these laws, the Defendants are liable for any false claims made involving the

State of New Mexico’s Medicaid program, and other false claims when the State provides any

portion of the funds. “State” means the State of New Mexico or any of its branches, agencies,

departments, boards, commissions, officers, institutions or instrumentalities, including the New

Mexico finance authority, New Mexico Mortgage finance authority, and New Mexico lottery

authority.

       546.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to New Mexico’s

Medicaid program, and other programs funded by the “State” as “State” is defined under the New

Mexico Fraud Against Taxpayers Act.




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       547.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       548.    The State of New Mexico’s Medicaid program and other programs funded by the

“State” were unaware of the falsity or fraudulent nature of these claims. Such claims otherwise

would not have been paid or allowed.

       549.    By reason of these payments the State of New Mexico has been damaged and

continues to be damaged in a substantial amount to be determined at trial.

                                   COUNT TWENTY-TWO
                         Violations of N.Y. State Fin. Law § 187, et seq.
                                The New York False Claims Act

       550.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       551.    This is an action for treble damages and civil fines under the New York False

Claims Act. N.Y. State Fin. Law § 187, et seq.

       552.    Under The New York False Claims Act, the Defendants are liable for any false

claim made if the State of New York or “local government” provides any portion of the funds.

“Local government” means any New York county, city, town, village, school district, board of

cooperative educational services, local public benefit corporation or other municipal corporation,

or political subdivision of the state or of such local government.

       553.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to New York’s

Medicaid program, other programs funded by New York State, and programs funded by New York

local governments.

       554.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used a false records or statements.


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       555.      The State of New York’s Medicaid program, other programs funded by New York

State, and programs funded by New York local governments were unaware of the falsity or

fraudulent nature of these claims. Such claims would otherwise not have been paid or allowed.

       556.      By reason of these payments the State of New York and New York local

governments have been damaged and continue to be damaged in a substantial amount to be

determined at trial.

                                   COUNT TWENTY-THREE
                            Violations of N.C. Gen. Stat. § 1-605, et seq.
                              The North Carolina False Claims Act

       557.      The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       558.      This is an action for treble damages and civil fines against the Defendants under

the North Carolina False Claims Act, N.C. Gen. Stat. § 1-605, et seq.

       559.      Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to North

Carolina’s Medicaid program and other programs funded by the State of North Carolina, and or

knowingly accomplished these unlawful acts by making, using, or causing to be used false records

or statements.

       560.      The State of North Carolina’s Medicaid program and other programs funded by

North Carolina and were unaware of the falsity or fraudulent nature of these claims. Such claims

otherwise would not have been paid or allowed.

       561.      By reason of these payments the State of North Carolina has been damaged and

continues to be damaged in a substantial amount to be determined at trial.




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                                  COUNT TWENTY-FOUR
                         Violations of Okla. Stat. tit. 63, § 5053, et seq.
                          The Oklahoma Medicaid False Claims Act

       562.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       563.    This is an action for treble damages and civil fines against the Defendants under

the Oklahoma Medicaid False Claims Act, Okla. Stat. tit. 63, § 5053, et seq.

       564.    Through kickbacks, misrepresentations, and interference with the informed

consent process, Defendants knowingly presented or caused to be presented false claims to

Oklahoma’s Medicaid program and other programs funded by the State of Oklahoma.

       565.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       566.    The State of Oklahoma’s Medicaid program and other programs funded by the State

of Oklahoma were unaware of the falsity or fraudulent nature of the claims. Such claims otherwise

would not have been paid or allowed.

       567.    By reason of these payments the State of Oklahoma has been damaged and

continues to be damaged in a substantial amount to be determined at trial.

                                  COUNT TWENTY-FIVE
                         Violations of R.I. Gen. Laws § 9-1.1-1, et seq.
                             The Rhode Island False Claims Act

       568.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       569.    This is an action for treble damages and civil fines against Defendants under the

Rhode Island False Claims Act, R.I. Gen. Laws § 9-1.1-1, et seq.

       570.    Under the Rhode Island False Claims Act the Defendants are liable for any false

claim when the State provides any portion of the funds. “State” means the State of Rhode Island,


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any agency of state government, and any political subdivision, meaning any city, town, county, or

other governmental entity authorized or created by state law, including public corporations and

authorities.

        571.   Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to Rhode Island’s

Medicaid program, and other programs funded by the “State” as “State” is defined under the Rhode

Island False Claims Act.

        572.   Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

        573.   The State of Rhode Island’s Medicaid program and other programs funded by the

“State” were unaware of the falsity or fraudulent nature of the claims. Such claims otherwise would

not have been paid or allowed.

        574.   By reason of these payments the State of Rhode Island has been damaged and

continues to be damaged in a substantial amount to be determined at trial.

                                    COUNT TWENTY-SIX
                     Violations of Tenn. Code Ann. § 4-18-101, et seq. and
                       Violations of Tenn. Code Ann. § 71-5-181, et seq.
                             The Tennessee False Claims Act and
                             Tennessee Medicaid False Claims Act

        575.   The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

        576.   This is an action for treble damages and civil fines against the Defendants under

Tennessee False Claims Act, Tenn. Code Ann. § 4-18-101, et seq., and the Tennessee Medicaid

False Claims Act, Tenn. Code Ann. § 71-5-181, et seq.

        577.   Under these laws the Defendants are liable for any false claim if the State of

Tennessee or a political subdivision of the State of Tennessee provided any portion of the funds.


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       578.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to Tennessee’s

Medicaid program, other programs funded by Tennessee, and programs funded by political

subdivisions of Tennessee.

       579.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       580.    The State of Tennessee’s Medicaid program, other programs funded by Tennessee,

and political subdivisions of Tennessee were unaware of the falsity or fraudulent nature of these

claims. Such claims otherwise would not have been paid or allowed.

       581.    By reason of these payments the State of Tennessee and its political subdivisions

have been damaged and continue to be damaged in a substantial amount to be determined at trial.

                                 COUNT TWENTY-SEVEN
                   Violations of Tex. Hum. Res. Code Ann. § 36.001, et seq.
                         The Texas Medicaid Fraud Prevention Act

       582.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       583.    This is an action for treble damages and civil fines against the Defendant under the

Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code Ann. § 36.001, et seq.

       584.    By way of kickbacks, misrepresentations, and interference with the informed

consent process, Defendants knowingly presented or caused to be presented false claims to Texas’s

Medicaid program. Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       585.    The State of Texas’s Medicaid program was unaware of the falsity or fraudulent

nature of the claims. Such claims otherwise would not have been paid or allowed.




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       586.    By reason of these payments the State of Texas has been damaged and continues to

be damaged in a substantial amount to be determined at trial.

                                    COUNT TWENTY-EIGHT
                          Violations of Va. Code Ann. § 8.01-216.1, et seq.
                           The Virginia Fraud Against Taxpayers Act

       587.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       588.    Plaintiff-Relator seeks relief against Defendants under the Virginia Fraud Against

Taxpayers Act, Va. Code Ann. § 8.01-216.1, et seq.

       589.    Under the Virginia Fraud Against Taxpayers Act, the Defendant is liable for any

false claim if the Commonwealth has provided any portion of the money. “Commonwealth”

means the Commonwealth of Virginia, any agency of state government, and any political

subdivision of the Commonwealth.

       590.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to the

Commonwealth of Virginia’s Medicaid program and other programs funded by the

Commonwealth, as “Commonwealth” is defined under this Act.

       591.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       592.    The Commonwealth of Virginia’s Medicaid program and other programs funded

by the Commonwealth, its agencies, and political subdivisions were unaware of the falsity or

fraudulent nature of the claims. Such claims otherwise would not have been paid or allowed.

       593.    By reason of these payments the Commonwealth of Virginia, its agencies and

political subdivisions have been damaged and continue to be damaged in a substantial amount to

be determined at trial.


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                                  COUNT TWENTY-NINE
                      Violations of Wash. Rev. Code § 74.66.005, et seq.
                     The Washington Medicaid Fraud False Claims Act

       594.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       595.    This is an action for treble damages and civil fines against the Defendants under

The Washington Medicaid Fraud False Claims Act, Wash. Rev. Code § 74.66.005, et seq.

       596.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to the Washington

Medicaid program.

       597.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       598.    The State of Washington’s Medicaid program was unaware of the falsity or

fraudulent nature of these claims. Such claims otherwise would not have been paid or allowed.

       599.    By reason of these payments the State of Washington has been damaged and

continues to be damaged in a substantial amount to be determined at trial.

                                    COUNT THIRTY
                       Violations of Wis. Stat. Ann. § 20.931, et seq.
                  The Wisconsin False Claims for Medical Assistance Law

       600.    The allegations contained in the above paragraphs are hereby re-alleged as set forth

fully above.

       601.    This is an action for treble damages and civil penalties under the Wisconsin False

Claims for Medical Assistance Law, Wis. Stat. Ann. § 20.931, et seq.

       602.    Through kickbacks, misrepresentations, and interference with the informed consent

process, Defendants knowingly presented or caused to be presented false claims to the Wisconsin

Medicaid program, and or false claims for medical assistance.


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       603.    Defendants knowingly accomplished these unlawful acts by making, using, or

causing to be used false records or statements.

       604.    The State of Wisconsin’s Medicaid program and any State of Wisconsin medical

assistance program were unaware of the falsity or fraudulent nature of these claims. Such claims

otherwise would not have been paid or allowed.

       605.    By reason of these payments the State of Wisconsin has been damaged and

continues to be damaged in a substantial amount to be determined at trial.

       606.    While the legislature repealed the law on July 12, 2015 (see 2015 Act 55 § 945n),

Wisconsin law provides that “[t]he repeal of a statute hereafter shall not remit, defeat or impair

any civil or criminal liability for offenses committed, penalties, or forfeitures incurred or rights of

action accrued under each statue before the repeal thereof…” Wis. Stat. Ann. § 990.04.

       607.    Thus, Relator's claim survives under Wisconsin law.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff-Relator, on behalf of himself, the United States, and all States listed

herein request that judgment be entered in his favor and against Defendants as follows:

               (A)     That Defendants cease and desist from violating 31 U.S.C. § 3729,

       et seq., and the counterpart provisions of the state statutes set forth above;

               (B)     That this Court enter judgment against the Defendants in an amount

       equal to three times the amount of damages the United States has sustained because

       of Defendants’ actions, plus a civil penalty of not less than Five Thousand Five

       Hundred Dollars ($5,500.00) and not more than Eleven Thousand Dollars

       ($11,000.00) for each violation of 31 U.S.C. § 3729 plus any increase allowed for




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 such civil penalties as specified under the Federal Civil Penalties Adjustment Act

 of 1990;

        (C)     That this Court also enter judgment against the Defendants in the

 appropriate amount to each of the States for damages and civil fines as determined

 under the above listed State False Claims Acts;

        (D)     That Plaintiff-Relator be awarded an amount that the Court decides

 is reasonable, which shall not be less than Twenty Five Percent (25%) nor more

 than Thirty Percent (30%) of the proceeds or settlement of any related

 administrative, criminal, or civil actions, including the monetary value of any

 equitable relief, fines, restitution, or disgorgement to the United States, States

 and/or third parties;

        (E)     That Plaintiff-Relator be granted a trial by jury;

        (F)     That Plaintiff-Relator, the United States, and the States listed herein

 be awarded pre-judgment interest;

        (G)     That the Plaintiff-Relator, be awarded all costs of this action,

 including attorneys’ fees and costs pursuant to 31 U.S.C. § 3730(d) and similar

 provisions of the Sate False Claims Acts listed herein;

        (H)     That the United States, the States, Sub-divisions, Municipalities, and

 the Relator recover such other relief as the Court deems just and proper.

                           JURY TRIAL DEMANDED

 608.   Plaintiff-Relator hereby demands a jury trial on the causes of action alleged herein.




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                             Respectfully submitted,

                             NICHOLS KASTER, PLLP

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April 5, 2022




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